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RECEIVED
                        UNITED STATES DISTRICT COURT
      OCT 19 2022         SOUTHERN DISTRICT of OHIO
RICHARD W. !\'AGEL           WESTERN DMSION
   Clerk Of Court
CINCINNATI, OHIO



ALICIA A.EPPS Pro Se                                 . Case no:.-   l1 : 22 CV6 l O•
            Plaintiff,




vs.                                                   Judge: ·      JUDGE MCF.l\RLAND
                                                          MAGlSTRATEJUDGE        1-11   KUVITZ


UNITED STATES of AMERICA
CARL LINDNER III, in his official capacity as CEO and Controlling Managing Owners FC
Cincinnati; former Cincinnati Council member JEFF BERDING, in his official capacity as the
President ofFC Cincinnati and Managing Owners; SCOTT FARMER, in his official capacity as
member of the Managing Owners FC Cincinnati; GEORGE JOSEPH, in his official capacity as
member of the Managing Owners FC Cincinnati; MEG WHITMAN and Dr. GRIFF HARSH, in
their official capacity as members of the Managing Owners FC Cincinnati; former Mayor of City
Cincinnati MARK MALLORY,in his official capacity Director of Community Development FC
Cincinnati; GREGORY D .JOHNSON,in his official capacity as CEO of Cincinnati Metropolitan
Housing Authority; JOHN CRANLEY, in his official capacity as the former Mayor of City of
Cincinnati; CHRISTROPHER SMITHERMAN, his official capacity as the former Cincinnati
Council member; and Vice Mayor; AMY MURRAY,in her official capacity as former Cincinnati
Council member; DAVID MANN, in his official capacity as former Cincinnati Council member;
JEFF PASTOR;in his official capacity as former Cincinnati Council member;P.G.SITTENFELD
in his official capacity as former Cincinnati Council member; City of Cincinnati
                  Defendant.

PLAINTIFF Alicia Epps COMPLAINT for DECLARATORY and INJUNCTIVE RELIEF
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plaintiff

ALICIA A. EPPS, Pro Se
729 Betton Avenue
Cincinnati and Hamilton County
Ohio 45214
(513) 621·1147

defendants,

Defendant 4,
UNITED STATES of AMERICA

Collectively Defendant 3, FC Cincinnati

CARL LINDNER III, in his official capacity as
CEO, and Controlling Managing Owner, of FC Cincinnati
FC Cincinnati
14 East, 4th Street
Cincinnati, Hamilton County
Ohio 45202
(513) 977·5435


JEFF BERDING in his official capacity as
president, FC Cincinnati, and Managing Owners
FC Cincinnati
14 East, 4th Street
Cincinnati, Hamilton County
Ohio 45202
(513) 977·5435
b****j@bengals.nfl.com


OWNERSHIP GROUP, now MANAGING OWNER/s/

Scott Farmer in his official capacity as
Managing Owner,
FC Cincinnati
14 East, 4th Street
Cincinnati, Hamilton County
Ohio 45202
(513) 977·5435
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George Joseph in his official capacity as
Managing Owner,
FC Cincinnati,
14 East, 4th Street
Cincinnati, Hamilton County
Ohio 45202
(513) 977·5435

Meg Whitman and Dr.Griff Harsh in their official capacity as
Managing Owners, replacing Jack Wyant and Steve Hightower Ownership Group
FC Cincinnati,
14 East, 4th Street
Cincinnati, Hamilton County
Ohio 45202
(513) 977·5435

MARK MALLORY, in his official capacity as
DIRECTOR of COMMUNITY DEVELOPMENT for FC CINCINNATI
FC Cincinnati
14 East, 4th Street
Cincinnati and Hamilton County
Ohio 45202
(513) 977·5435


defendant 2, CMHA

GREGORY D.JOHNSON, in his official as
CEO of CINCINNATI METRPOLITAN HOUSING AUTHORITY
1627 Western Avenue
Cincinnati and Hamilton County
Ohio 45214
(513) 977-5661


Collectively defendant 1, City of Cincinnati

JOHN CRANLEY in his official capacity as
Former CITY of CINCINNATI Mayor
City Hall, 801 Plum Street
Cincinnati and Hamilton County
Ohio 45202
(513) 352-3250
mayor .cranley@cincinnati ·oh. gov.

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CHRISTOPHER SMITHERMAN in his official capacity as
Former CINCINNATI COUNCIL MEMBER and Vice Mayor
City Hall, 801 Plum Street
Cincinnati and Hamilton County
Ohio 45202
(513) 352-3464
christopher.smitherman@cincinnati·oh. gov.


JEFF PASTOR in his official capacity as
Former CINCINNATI COUNCIL MEMBER
City Hall, 801 Plum Street
Cincinnati and Hamilton County
Ohio 45202
(513) 352-5243
Jeff.pastor@cincinnati-oh.gov


P.G. SITTENFELD in his official capacity
Former CINCINNATI COUNCIL MEMBER
City Hall, 801 Plum Street
Cincinnati and Hamilton County
Ohio 45202
(513) 352-5270
Pg.sittenfeld@cincinnati·oh. gov


AMY MURRAY in her official capacity,
Former CINCINNATI COUNCIL MEMBER,
City Hall, 801 Plum Street
Ohio 45202
(513) 352-3640
amymurray@cincinnati·oh.gov


DAVID MANN in his official capacity,
Former CINCINNATI COUNCIL MEMBER,
City Hall, 801 Plum Street
Ohio 45202
(513) 352· 4611
davidmann@cincinnati ·oh. gov




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                         STATEl\IBNT OF THE CLAIM


  Plaintiff again amended Complaint with Leave of Court, adding United States as

Defendant 4, after Court of Appeals dismissed Plaintiff case for want of prosecution

Plaintiff file amended complaint (Doc. 6) with leave of court after original complaint

(Doc. 1), described as confusing and failed to state claim for relief, dismissed by the

District Court after Plaintiff failed to object to first R&R (Doc 3), Plaintiff on Appeal

Case dismissed for want of prosecution,

     Amended Complaint alleges Injury and Damages, and seeking Declaratory and

Injunctive relief, although this case involves thousands of people, Plaintiff a lifelong

resident brings this action on behalf of herself Pro Se, WestEnd source of subsidized

housing since 1933, unlawfully denied by the Defendant's conspiracy to participate

in pattern or practice of discrimination, violating rights guaranteed by constitution

Defendant 1, City of Cincinnati, conspiring with the Defendant 2, CMHA Cincinnati

Metropolitan Housing Authority did not replace demolished public housing and sold

public Land in exclusive deal with the Defendant 3 FC Cincinnati, and newly added

Defendant 4, United States Government owns the public land, and is responsible for

its agents who instructed to effectively eliminated opportunity to participate in the

Federal Subsidized Housing Program, and in a land swap with CPS worth millions

to construct the now TQL stadium and Willard R. Stargel stadium in the WestEnd

in exchange for public land reserved for low-income housing Defendant 1 the City of

Cincinnati and Defendant 2 CMHA engaging in future deal eliminating needed low-

Income housing surrounding TQL stadium in the WestEnd

                                            1
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    Elected officials allocated $200 million Public funds for infrastructure replacing

Low-income housing in some cases evicting Low-Income tenants for an $251 million

privately owned Professional Soccer stadium, in a residential area contributing to a

housing crisis that has lasted for a over decade and possibly started by the razing of

Low-Income housing in the 90s, Defendant 4 United States instructed it's agents to

demolish Low-income housing, unlawfully replacing with mixed-income housing on

Public land since 1937, creating a Conflict of Interest, abusing Public trust violating

Plaintiff protected property interest guaranteed by the constitution raising value of

available housing, contributing to issues of blight, and repair intentionally failing to

provide reasonable accommodations conduct is devastating, and displacing causing

poverty, death and uprooting families,




JURISDICTION

 Under title 28 u.s.c.§1343(3) and or alternatively title 28 u.s.c.§1331, confers the
jurisdiction, Venue is proper in Southern District ofOhio as all claims arise in the
District, plaintiffresides in District, defendants 1,.2,3 corporate Headquarters, and
or Political Oflice is located in the District

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Parties History,
Plaintiff

    ALICIA EPPS, raised in Laurel Homes graduated Taft High School 81-82, now
    Taft Informational Technology High School, raised at 521 Armory Ave. changed
    later to Derrick Turnbow Avenue,

Defendant's 3. FC Cincinnati

    CARL LINDNER III, et al, CEO & Controlling Managing Owner FC Cincinnati,
    prominent in Cincinnati area, Western &Southern Open Venue, Lindner Family
    Tennis Center

   Former Councilman JEFF BERDING, FC Cincinnati: 2015-2019, franchise re-
   placed by Gerald Nijkamp 2019, General Manager, instrumental in construction
   of Stadiums in WestEnd, president FC Cincinnati· and Managing Owners served
   Cincinnati City Council 1999-2011, has knowledge of HOPE VI, created Banks
   working Group, fifth generation born raised Westwood earned M.B.A. Xavier

   Former CINCINNATI Mayor MARK MALLORY served two terms 2005, 2013,
   Knowledgeable about HOPE VI, working for FC Cincinna~ as the Director of
   Commun~ty Development, president of Mark Mallory & Ass. WestEnd resident

   OWNERSHIP GROUP now MANAGING OWNER, privately financed Stadiums,
   FC Cincinnati: only team in Market to invest close to Half-Billion Dollars,

    F.C. CINCINNATI, FCC, represents Private entity,Cincinnati Soccer Franchise

Defendant 1, City of Cincinnati

   JOHN CRANLEY, former Cincinnati Mayor, assumed office December 1, 2013,
    chief executive officer of Cincinnati lawyer Co-founder Ohio Innocence Project,
    served on City Council 2000-2009, has knowledge of HOPE VI,

   former CINCINNATI CITY COUNCIL MEMBERS the Legislative Branch and
   Lawmaking body of City Government, Vice Mayor Christopher Smitherman and
   Jeff Pastor, P.G.Sittenfeld, Amy Murray, David Mann,

Defendant 2, CMHA

   CINCINNATI METROPOLITAN HOUSING AUTHORITY, CMHA located at
   1088 W.Liberty Street in the WestEnd, a.Public Housing Authority, Hamilton
   County largest provider of Federal Housing Subsidy Program serving persons of
   Low-Income since Fair Housing Act 1933, PHA, retains developers to renovate

                                         3
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   affordable Housing, purpose of developing, and operating Low· Income housing
   throughout Hamilton County, Board makes operational and budgetary decisions
   regarding Federal funds allocated for Federal Housing Subsidy Program, fair
   housing act, titlevn:providing Federal funds that created CMHA.
   GREGORY D. JOHNSON, current CEO,CMJL4, resigned June 30, 2019, rehired

Defendant 4, USA

 UNITED STATES of AMERICA owner of public land, defendants I and 2are agents

Additional participant
   TAFT INFORMATION TECHNOLOGY HIGH SCHOOL. TAFT, 420 Ezzard
   Charles Drive, in the WestEnd established 1955, FC Cincinnati constructed the
   $250 million TQL stadium just feets away

    CINCINNATI PUBLIC SCHOOL. CPS, board makes operational and budgetary
   decision regarding Federal Funds,

   HOPE VI housing project two Federally funded grants awarded to CMHA to
   demolish, redevelop, creating mixed Income communities, Lincoln Court grant
   approved by HUD 1998, Laurel Homes 1999, CMHA marketed the development
   Sites under City West, former Mayor Dwight Tillery Concord board member and
   CMHA director Donald Troendle,City Council voted 5-3, contributing Six Million
   Dollars, total cost of project estimated $78 Million TCB, mismanaged housing
    project leaving the over sixty lots sold to FC Cincinnati.

   THE COMMUNITY BUILDERS INC. TCB, non-profit Housing Developer, and
   Manager from Boston, hired for HOPE VI housing project, 1998-03 constructed
   Laurel Homes and Lincoln Court creating City West, managing Fifteen years
   TCB, developed, managed 1.Vlixed Income Communities across America, charged
   also with Community, Supportive Services Component hire Architects selecting
   managers construction Contractor, serves as sites managers, construction in
   Laurel Homes and Lincoln Courts resulting in less units than previously agreed
   upon former Council member Charlie Winburn, filed Lawsuit to re-coup Sixteen
   Million after HOPE VI, failed TCB removed CMHA, returned as Management,

LINCOLN COURTS AND LAUREL HOMES , two of the oldest Federally subsidized
   project-based, approximately 99% African-American many Elderly or disabled
   built 1942, originally had 1,015 Units made up of two, or three room apartments
   and four or five room row houses, the Historical Laurel Homes built 1938, wi.th
   1,039 units, both address issue of needed Federally funded Low-Income housing
   both demolished and replaced with Federally funded HOPE VI, housing project

WESTEND NEIGHBORHOOD Historical Low-Income Housing District

                                        4
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                                              BACKGROUND

1   Plaintiff Alicia A. Epps, respectfully files this Amended Complaint, the original Complaint (Doc. 1) filed

November 13, 2019, was confusing and failed to state a Claim for Relief, the Plaintiff seeking Declaratory

and Injunctive Relief, alleging willful and reckless violation of the Fair Housing Act under title vii and Civil

Rights Act of 1964, intentionally evicting person of Low-Income in the midst of and knowingly contribut-

ing to, possibly starting a Housing crisis that has lasted years, abandoning, selling, trading, Public land

reserved and or created for Low-Income Housing Defendant conduct resulting in Damages and Injury to

the Plaintiff,

2 Institutions receiving federal funds follow federal guidelines guaranteed by due process and the equal

Protection clauses, in the 14th amendment of the constitution and stand for the principal the government

must respect the fundamental right owed to it's citizens, some evidence or allegations in this complaint

are public knowledge the Defendant 1, former Mayor John Cranley, former City Council members Jeff

Pastor, P.G.Sittenfield, David Mann, Amy Murray left City, former Vice-Mayor Christopher Smitherman

acting under the Color of Law, and engaging in a practice or pattern of discrimination to willfully deprive

person of right protected by constitution is a federal crime, a civil conspiracy under 42 u.s.c.§1983, to

sustain section 1983 claim, Plaintiff must establish that she is deprived of right secured by constitution

and that the deprivation was caused by a person acting under the color of law see Sizemore v.

Forsthoefel, 20 exh.a,b,c,j,o,p,u,v,w,x,y




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                                    CLAIM ONE
                                  42 u.s.code§ 1983

      Plaintiff re-alleges paragraphs One and Two, of this complaint as if fully set
      forth here

      Defendant's willfully violated equal protection, and due process clause of, 14th
      amendment denied opportunity to participate fully in Public Housing, the
      Defendant's intentional, reckless conduct engaged in a pattern or practice of
      discrimination in violation of rights under the above

      Plaintiff denied participation and benefit of federal housing subsidy program
      on Public land owned by government Defendant terminating available Public
      Housing and refusal to provide reasonable accommodations and as a result of
      conduct described under the above,

      Defendant's violated against Plaintiff on basis of civil rights act of 1964, the
      Plaintiff depend on federal subsidy housing program violating under above

      As a result of Defendant's action Plaintiff suffered consequential damages
      including personal injury pain and suffering, emotional harm, and distress,
      Plaintiff suffered social, emotional harm, deprivation of constitutional right
      Plaintiff have and continue to suffer irreparable harm as a result of the above

 3. section 1985(3,) of civil rights act of 1964, provide a civil remedy for conspiracies

 interfering with constitutionally and federally protected rights when motivated by

invidiously discriminatory animus see Parratt v. Taylor,101 S.Ct.1908,1912, section

 1985(3) plaintiff must show: (1) a conspiracy (2) Act in furtherance of the conspiracy

 (3) an intent to deprive any person of the equal protection of or equal privileges and

immunities under the law and (4) a injury resulting to a legal right or privilege to

state a claim therefore to section 1985(3), denying opportunity to engage in or fully

benefit from Public Housing, contributing to Housing Crisis to protect independence

of person, reckless derelection of duty intentionally conspiring with. exh.a,b,c,e,t;;:o,




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                                    CLAIM TWO
                                 42 u.s.code§ 1985(3)

      Plaintiff re-alleges paragraphs One through Three of this complaint as if fully
      set fourth here,

      Defendant's willfully and intentionally violated Plaintiff equal protection and
      due process clause of 14th amendment denying opportunity to participate fully
      in Public Housing Subsidy Program in violation rights under the above,

      Defendant's reckless conduct violating civil rights act of 1937 and participating
      in a pattern or practice of discrimination violating rights under the above,

      As a result of conduct described above, Plaintiff have been denied participating
      in and benefits of Public Housing owned by Government Terminating Housing
      and refusal to provide reasonable accommodations,

      Defendant's violated against Plaintiff on basis of terminating available public
      Housing violating rights under the above,

      As result of Defendant's conduct plaintiff suffered consequential damages
      including personal injury, pain and suffering, emotional harm, and distress
      Plaintiff suffered social, emotional, injury deprivation of constitutional rights,

      Plaintiff have and continue to suffer irreparable harm as result of Defendant's
      intentional, reckless conduct violation of civil rights under the above

 4.   Defendant 2, Cincinnati Metropolitan Housing Authority CMHA, operates as a

PHA, in the City of Cincinnati, as well as Lincoln Heights, Sycamore, Springfield

Columbia Townships, pursuant to o.r.c. 3735.27, a political subdivision, responsible

for government activities, plans, operates, Public Housing obtains finance through

department of housing and urban development HUD an agency of the United States

Defendant 4, retains developers to renovate affordable housing throughout County

Gregory D. Johnson CEO, did not accept applications for federal housing subsidy an

placed applicants on Waiting List for years now referred to as Asset Management as

of 2019, rules that slightly differ from HUDs. exh.a,h,c,d,e,f,g,j,k,l,n,o,s,u, v,

                                             7
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 5. Annual meeting of "Human Services Chamber of Hamilton County" February

 2019, CEO, Gregory D.Johnson talks about the need for affordable Housing in the

 community, CMHA, granted exclusive buying Rights for over 60 Lots January 2018,

 described as such in the Community Agreement Bene.it, throughout Lincoln Courts

 and Laurel Homes in WestEnd in exchange Jeff Bertling on behalf of FC Cincinnati,

 Carl Lindner III Defendant 3, paid $100 fee to CMHA the Defendant 2, for exclusive

 Rights, to Lots left after, exh.a,h,c,d,e,f,g,h,1J,k,p,r,s,u,t, v, w,x,y

 6.   HOPE VI revitalization 1998, Department of Housing and Urban Development

 United States defendant 4 awarded funding to CMHA calling for demolition of older

 subsidized rentals units at Laurel Homes and Lincoln Court and reconstruct on the

same sites a mixed-income rentals and Homeownership units, Laurel Homes listed

in National Register of Historical Places May 19, 1987, it contained 29 contributing

buildings 3 remain today creating housing crisis exh.a,h,c,d,e,f,g,I,j,k,l,m,n,o,p, w,x,y

 7.   Plaintiff presented evidence that the City has shortage of affordable Housing in

 CMHA owned or operated large conventional Public Housing, presently are blighted

or abandoned, Defendant 1, City of Cincinnati admit to the affordable housing crisis

reckless conduct continue to cause consequential damages and injury, suffering, and

pain, Irreparable harm the government must respect fundamental rights owed to its

citizen accordingly to Law. exh.a,b,c,f,l, u,

8. Former Mayor Cranley and former Council member Mann established a Housing

Trust fund contradicting deal with FC Cincinnati to replace the public housing with

$251 million stadium (TQL) in a WestEnd residential area, changing the zones, and


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 conspiring to buy public land from the defendant 2 Cincinnati Metropolitan Housing

 Authority whom had not replaced Low· Income housing lost in 1998 to the HOPE VI,

 housing project leaving the 60 Lots of Public Land abandoned, instead selling Public

 Land in violation of the equal protection clause effectively eliminating opportunity

 to fully participate in and failing to provide or refusing to provide reasonable accom -

 modations necessary for Plaintiff to participate in Federal housing Subsidy program

 in violation of the due process clause of the constitution, selling, or in a land swap,

 denying public land to Plaintiff person of Low-income, Laurel Homes, chosen for the

 HOPE VI, housing project despite being listed in Nation Register of Historic exh.a,b

                               CLAIM THREE
    equal protection and due process clause in 14TH amendment to constitution

      Plaintiff re-alleges paragraphs One through Eight, of this complaint as if fully
      set fourth here,

      Defendant's willfully violating 14th amendment of the constitution Plaintiff
      denied opportunity to participate fully in Public Housing Program violating
      equal protection clause and implementing regulations

      Defendant's intentional, reckless conduct violating equal protection clause
      engaging patte1·n or practice of discrimination violating 18u.s.code§title 241 to
      18u.s.code§title242, and its implementing regulations

     Defendant's conduct in failing to provide reasonable opportunity for Public
     Housing violating against Plaintiff denied full opportunity to fully participate
     in Public Housing in violation of rights under the above,

     As a result of the Defendant's action Plaintiff suffered consequential damage
     including personal injury, pain and suffering, emotional harm, distress, and
     suffered social, emotional, injury, deprivation of constitutional rights,

     Plaintiff have and continue to suffer irreparable harm a result of Defendant's
     violations of equal protection and due process clause, within text of 14th,
     amendment to united states constitution, in violation of rights under above,


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 9.    Under equal pz·otection and due process clause provide nor shall any State deny

 person within its jurisdiction protection equal of the law guaranteed by constitution

 or otherwise make unavailable and deny dwelling to any person because of religion,

 race, color, familial status and national origin 42u.s.c §3604 to establish violation of

 FHA of 1937 by showing conduct has a disparate effect on protected class Defendant

 engaging in practice or pattern of discrimination civil conspiracy 42 u.s.c.§ 1985.

 10. Carl Lindner III, CEO, and Controlling Managing Owner, FC Cincinnati former

 Council member Jeff Bertling now President FC Cincinnati and Managing Owners,

former Mayor Mark Mallory Director of Community Development for FC Cincinnati

former elected officials abusing public Trust using position, and knowledge gained,

to acquire, sell, profit from public land, creating a conflict of interest, eliminating all

 opportunity for Plaintiff to benefit from Public Housing, contribute to housing crisis,

Managing Owners privately financed stadium in the WestEnd George Joseph, Scott

Farmer, Meg Whitman & Dr. Griff Harsh, replacing Jack Wyant, Steve Hightower

Ownership Group 2019.

 11.   Elected Officials opting to sell abandoned Lots as described in the community

bene.its agreement throughout Lincoln Courts and Laurel Homes also the adjoining

public land, replacing with privately owned $251 million Soccer stadium on Public

land owned by CMHA not restricted to any one individual use or possession denying

benefit of federal housing subsidy program violating civil rights act1964,exh.k,q,s,t,


                                     CLAIM FOUR
                                 civil rights act of 1964


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       Plaintiff re-alleges paragraphs One through Eleven of this complaint as if fully
       set forth here,

       Defendant's willfully depriving constitutionally protected property interest
       opportunity and benefit of federal housing subsidy program under the above
       Defendant's intentional reckless conduct violating civil rights act of 1964,
       participating in pattern or practice of discrimination under 42u.s.code§title
       1983, to 42 u.s.code§titlel985, and it's implementing regulations

       Defendant's conduct failing to provide reasonable opportunity for Public
       Housing violating equal protection due process clause against Plaintiff denying
       full opportunity to participate in Public Housing violating rights under above
       result of Defendant's conduct plaintiff suffered consequential damage personal
       injury, pain and suffering, deprivation of constitutional rights

       Plaintiff have and continue to suffer irreparable harm a result of Defendant's
       violation of rights under the above.

 12.   Plaintiff have constitutional Protected Property Interest in Public Housing see

 HUD v. rucker, 535U.S.125, and davis v. mansfield metropolitan housing authority

 751F.2d180,184 (6 th Cir.1984) Plaintiff not afforded duep1·ocessprior to Defendant's

 deciding on course of action resulting in deprivation protected constitut;ional rights

former City Council member Jeff Bertling, president of on behalf of Carl Lindner III,

 CEO and Controlling Manger Owners of FC Cincinnati and new $251 million Soccer

 stadium, 100% privately financed willfully built on abandoned lots and or adjoining

public land between Liberty Street and Central Avenue purchased or in land swap

 the City of Cincinnati reckless conduct using Public funds that will evict families or

person of Low-income, intentionally from Public Housing. exh.a,b,c,d,e,f,g,h,i,j,k,l,

 13.   FC Cincinnati infrastructure package, parking garage costing up to additional

$200 Million over 20 years to tax payer in violation o.r.c.309.12, the County and FC

Cincinnati strike a deal for parking commissioners Stephanie Sumerow Dumas and


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 Denise Driehaus in a 2·0 vote, cost $27 million, Todd Portune deceased replaced by

Victoria Parks 2020, additional $51 million taxpayer money from City of Cincinnati
Defendant 1, and the Hamilton County Commissioners not named defendant.


                                   CLAIM FIVE
      43u.s.codel 702(e) and u.s.code§title43 chapter 41transaction section 2304

     Plaintiff re-alleges paragraphs One through Thirteen, of this complaint as fully
     set fourth here,

     Defendant's willfully violated Plaintiff under civil rights act of 1964, deny the
     opportunity to participate fully in federal housing subsidy program under fair
     housing act of 1937, violating rights under the above

     Defendant's intentional reckless conduct violating FHA of 1937, engaging in
     pattern or practice of discrimination violating rights under the above.
     Defendant's conspiracy to engage in misleading conduct against Plaintiff on
     basis of Plaintiff depending on federal housing subsidy program violating equal
     protection and due process clause, violating rights under the above

     As result of Defendant's conduct Plaintiff suffered consequential damages
     including personal injury, pain and suffering, emotional harm and distress
     Plaintiff suffered social, emotional injury, deprivation constitutional rights
     Plaintiff have and continue to suffer irreparable harm as result of Defendant's
     violation of rights under the above

 14. The Defendant's not authorized by government to sell public land, and willfully

continue to negatively affect federal housing subsidy program, further contributing

to Housing Crisis throughout Hamilton County Low-Income person denied housing

leads to uprooting, devastation, and causing poverty in event that a PHA is unable

to honor all outstanding applications within its ACC, applicant placed on a waiting

list closed literally for years, this procedure a requirement that a PHA maintain a

system assuring it will honor all outstanding applications within ACC exh.a,b,c,g,s

15. Results of $100 thousand Housing study funded by FC Cincinnati conducted by


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 a outside consultant ADP, urban planning and management September 2019, found

 gap in current Housing stock affect people who fall within both ends, more of all the

 goals of future development plans should achieve appropriate Housing pricing and

 zero displacement of resident WCPO.com according to the study 74% of residents at

 risk of displacement, a significant number of blighted and vacant buildings, limited

 options for Housing for incomes under $18 thousand, 40% of WestEnd residents will

spend 30% or more for monthly Housing expenses, resident surveyed in study 80%

have a desire to stay in the WestEnd. exh.a,b,c,d,e,f,g,h,1J,k,l,m,n,o,p,q,r,s,t,u,v,


                                   CLAIM SIX
                      Intentional Infliction of Emotional Distress

     Plaintiff re-alleges paragraphs One through Fifteen, of this complaint as if fully
     set fourth here,

     Defendant's engaged in pattern or practice of discrimination violating Due
     Process clause a result of conduct described above plaintiff denied participation
     and benefit of Federal Housing Subsidy Defendant's terminating available
     Public Housing 42 u.s.code§title1983,

     Defendant's willfully violating the equal protection and due process clause
     denying plaintiff opportunity to participate in Public Housing under the above

     Defendant's intentional actions conspiring under color oflaw, acquiring a
     residential area, failing to, or refusing to provide accommodations reasonable or
     necessary for plaintiff to participate in federal housing subsidy program causing
     emotional harm under 42 u.s.code§title1985(3)

     Defendant's further intentionally violating Plaintiff on basis of being Low
     income and depended on subsidized Housing by failure to access or to require
     appropriate Housing Defendant's acted intentionally, and maliciously excluding
     Plaintiff by denial of federal housing subsidy program under u.s.code§title43,
     chapter 41 transaction section 2304(B)(J)sale ofpublic land,

     As a result of Defendant's intentional reckless conduct plaintiff sustained injury
     emotional damage caused by Defendant's also pain and suffering

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       Plaintiff have and continue to suffer irreparable harm a result of Defendant's
       intentional violation of Plaintiff rights under the above,

       Result of Defendant's conduct Plaintiff suffer consequential damages including
       personal injury, pain and suffering, emotional harm, distress, Plaintiff suffered
       social emotional injury deprivations of constitutional rights under the above.

 16.    to establish claim for intentional infliction of emotional distress, plaintiff must

 show that: (1) defendants intended to cause plaintiff serious Emotional distress (2)

 Defendants conduct was extreme and outrageous; (3) the Defendant's conduct was

 proximate cause of plaintiffs serious Emotional distress. Phung v. Waste Mgt. Inc.,

 71Ohio St.3d408,410,1994·Ohio·389,644NE2d286. exh.e,n,t,u, v, w

 17. Plaintiff raised in the WestEnd person of Low-income despite being eligible and

 accepted to public Housing, due to Unlawful Evictions and housing shortage became

homeless, reapplied to CMHA who conspiring with City of Cincinnati manipulated

Federal Housing Subsidy Program and in a land swap or selling Lots, and adjoining

surrounding, evicting current residents from Public Land reserved for Low-Income

Housing raising available Housing value contributing to issues of blight and repair,

leaving renters in a take it or leave it situation,

 18.    City of Cincinnati, allocating public funds overlooking, in charge of changes to

infrastructure, residential area selling sub-streets contradicting affordable Housing

Trust Fund established to combat Housing crisis, Vice Mayor Smitherman chaired

Law & Public Safety committee Jostin construction Company owned by his brother,

council member Jeff Pastor earns six figure salary from the Epilepsy vice chair Amy

Murray law & public safety resigned 2020, David Mann over sees the infrastructure

improvement, and major projects, PG. Sittenfeld leader of Gang of five exh.h,p,t,u, v

                                             14
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 19.    Council member Christopher Smitherman could not vote under o.r.c. 2921.42,

 Head of planning and zoning commission elected or appointed government board

 and charged with recommending to the City Council boundaries of various original

 zoning district, the appropriate regulations to be enforced therein, to any proposed

 amendments thereto February 2018, City of Cincinnati approves rezoning changes

 to the sub-streets sold to, FC Cincinnati, Low-Income Families evicted, the Jostin

 construction company helped in building FC Cincinnati new stadium TQL.exh.d,e,p


                                    CLAIM SEVEN
                                  18 u.s.code§title 241

       Plaintiff re-alleges paragraphs One through nineteen of this complaint as if
       fully set forth here,

       Defendant's willfully violated civil rights act of 1964, recklessly denying the
       plaintiff opportunity to fully participate in federal housing subsidy program
       violating rights under the above,

       Defendant's conduct engaging in a pattern or practice of discrimination in
       violating equal protect;ion and due process clause, result of intentional conduct
       Plaintiff denied participation and benefit of federal housing subsidy program
       on Government owned Public land Terminating the available Public Housing

       Defendant's intentional conduct conspiring under color oflaw acquiring public
       land for profit failing to or refusal to provide reasonable accommodations
       necessary for Plaintiff to participate in public Housing on government owned
       Public land, results serious emotional harm violating 43 u.s.code§1702(e), and
       its implementing regulation

       Result of Defendant's action Plaintiff have suffered consequential damages
       including personal injury, pain and suffering, emotional harm suffered social
       emotional injury, distress, deprivation of constitutional rights, Plaintiff have
       and continue to suffer irreparable harm violating rights under the above

20.     Bertling on behalf of FC Cincinnati, Carl Lindner III, and Managing Owners

publicly insisted building new Multi-Million Dollar Stadiums in WestEnd, breaking

                                            15
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 ground on FC Cincinnati stadium December 19th 2018, after submitting Oakley as

 new site for stadium December 6TH, 2017, Cincinnati Council unanimously approves

 WestEnd benefit deal FC Cincinnati announcing new Expansion Team to join Major

 League Soccer May 2018, old Willard R. Stargel stadium moved across the street to

 rebuild $10 million stadium, replaced with $251 million professional soccer stadium

 after land swamp deal involving Taft Technology School and CPS, deal with school

 board worth $25 million, JeffBerding on behalf of Carl Lindner III, FC Cincinnati

 admits proceed of sale or exchange of Public land to pay for stadiums not deposited

 in "Federal land Disposal Account" government didn't change any Laws. exh. u, t,

 21.    City of Cincinnati, Planning Commission approving rezoning April 2019, dis-

 placing families from Central Avenue, City Council unanimously approve benefit's

 deal between FC Cincinnati and WestEnd residents May2018, jeopardizing public

 health and safety, FC Cincinnati, unveil design concept October and break ground

 on MLS Stadium December 19, 2018. exh.b,f,g,l,m,n,o,t,u, v, w,x,y


                                    CLAIM EIGHT
                                 18 u.s.code§title 242

       Plaintiff re-alleges paragraphs One through 21 , of this complaint as if fully set
       fourth here.

       Defendant's willfully violated civil rights act of 1964, and Plaintiff denied the
       opportunity to participate in Public Housing violating rights under the above

       Defendant's intentional reckless conduct participating in a pattern or practice
       of discrimination violating rights under the above,

       As a result of conduct described above, Plaintiff have been denied participation
       and benefit of federal housing subsidy program on Public land by terminating
       Housing and refusal to provide reasonable accommodations

                                             16
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      Defendant's intentional violation against Plaintiff on the basis of terminating
      federal housing subsidy program violating rights under the above

      As result of Defendant's conduct the Plaintiff suffered consequential damages
      personal injury, pain and suffering, emotional harm, distress Plaintiff suffered
      social, emotional, injury deprivation of constitutional rights.
      Plaintiff have and continue to suffer irreparable harm as result of Defendant's
      violation of Civil Rights under above

22.    Over a decade later intentionally conspire to acquire, or in a land swap, or sell

surrounding public land, under color of law, terminating, profiting from public land,

previously reserved for Low-income Housing in the WestEnd owned by government,

Jeff Bertling, President on behalf of CEO, and Controlling Managing Owner Carl

Lindner III, purchasing Public land from CMHA using knowledge gained as elected

official a former Council member intentionally replacing public Housing with multi-

million dollar stadiums unlawful use Public land construction began 2018 exh.a,1~q,


                                  CLAIM NINE
                            Abuse of Trust or Authority

          Plaintiff re-alleges paragraphs One through 22, of this complaint as if
          Fully set fourth here.

          Defendants willfully violated civil rights act of 1964, Plaintiff denied the
          opportunity to participate in Public Housing violating rights under above

         Defendants Intentional Reckless Conduct Participating in a Pattern or
         Practice of Discrimination violating rights under the above,

         As a result of conduct described above, the Plaintiff have been denied the
        participation and benefit of federal housing subsidy program on public land
        by terminating housing and refusal to provide reasonable accommodations,

        Defendants intentional violation against Plaintiff on basis of terminating
        federal housing subsidy program violating rights under the above

        As a result of Defendants conduct Plaintiff suffered consequential damages

                                           17
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 23.    City of Cincinnati, Defendant 1, allotting millions in public tax dollars, to evict

 families or person of low Income from public land intentionally failing to provide or

 refusal to provide reasonable accommodations necessary for Plaintiffs participation

 in, effectively eliminating opportunity to fully participate in federal housing subsidy

 program reserved for person of Low-Income action resulting in injury and damages

 to Plaintiff sell or in a land swap terminating and profit from public land violating

 43 u.s.code§titlel 702(e), conduct requiring planning, knowingly target Low-Income,

 the elderly, or otherwise vulnerable affect low and moderate rate Housing Hamilton

 County Nationally among lowest price rent, but have high eviction rate. Exh.a,b,c,j


                                    CLAIM TEN
                                 Fraud and Corruption

       Plaintiff re-alleges paragraph One through 23, of this complaint as if fully set
       fourth here,

       Defendant's willfully violating civil rights act of1964, intentionally denying the
       Plaintiff opportunity to participate fully in federal housing subsidy program in
       violation of rights under the above,

       Defendant's conduct engaged in pattern or practice of discrimination as a result
       of conduct described above Plaintiff intentionally denied participation benefit of
       federal housing subsidy program on government owned Public land Defendant's
       terminating available Low Income Public Housing,

       Defendant's intentional actions conspiring under color of law acquiring Public
       land for profit failing to provide or refusal to provide reasonable accommodation
       necessary for participation in Housing, resulting in serious emotional harm to
       Plaintiff in violation of rights under the above,

       Defendant's violated against Plaintiff solely on basis of equal protection and
       due process clause of 14th amendment, in violation of rights under the above

       As a result of Defendant's action Plaintiff suffered consequential damages
       including personal injury, pain and suffering, emotional harm, and distress,

                                             18
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       suffered social, emotional injury, deprivation of constitution rights Plaintiff
       have and continue to suffer irreparable harm, as a result of violation the above

24.     The Defendant's intentional conduct contribute to Homelessness and Housing

Crisis ongoing problems, causing irreversible damage contribute to frustration and

humiliation caused by homelessness Maslow Army v. City of Cincinnati, citizens

evicted from underneath bridge, pain and suffering, lost sleep, dignity Defendant's

conduct affect market rent too due to Housing shortage and standardized leases, the

landlord's place tenants in a take it or leave it situation see javins v. first national

realty corp.138,app.D.C.3, exh.a,b,c,d,e,t;g,h,1J,k,l,m,n,o,p,g,r,s,t,u, v, w,~y

 25.     Buses rerouted Central Ave. closed to traffic, half of District One, parking lot

gone April 2019, replaced with new FC Cincinnati stadium, Cristopher Smitherman

chaired the Law and Public Safety Committee since2013, has jurisdiction to oversee

issues related to safety policy; fire; citizen complaint authority; liquor license; public

services responsible for zoning changes evicting families residing at Central Avenue

and Wade Street 2020, Ms Mary Frances Page 99, years old, living in WestEnd her

entire life sold or a land swap . compare to Wyandot Nation v. United States,



CONCLUSION and RELIEF

      THEREFOR, Plaintiff respectfully request that the Court:

   A. Issue a order granting plaintiff request for Declaratory and Injunctive relief,

   B. Declare Defendant's conduct outrages and causing pain and suffering, and
      emotional harm,

      C. Award compensatory and consequential damages to Plaintiff and return the
         Federal Housing Subsidy Program to WestEnd,

                                            19
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   D. Punitive damages are not recoverable from a City, Political subdivision, or
      State§2744.05W,

   E. Award punitive damages if compensatory damages have been awarded, or if
      actions/omission demonstrate malicious, aggravated, and egregious fraud

   F. That Defendant's knowingly authorized, participated in or ratified actions/
      omissions of an agent §§2315.21(C)(J) and (2)

   G. Nonpecuniary harm from injury and damages to person/property for pain and
      suffering, loss of society, protection, assistance, mental anguish, any other
      intangible loss,

   H. Find that Plaintiff are prevailing parties in this case and award, pursuant to
      42 u.s.c.§ 1988, costs, expenses, if suitable any relief at law or in equity, to
      which the Plaintiff maybe entitled,

Defendant 1, City of Cincinnati, Defendant 2, CMHA, Defendant 3,Carl Lindner III,
CEO Managing Owners, Defendant 4, United States, enjoined under fed.r.c.p.65(a),
and Compensate the Plaintiff

CERTIFICATION and CLOSING

     Under Federal rule of Civil Procedure 11, by signing below, I certify to the best
of my knowledge, information, and belief that this complaint:(1) not being presented
for improper purpose, such as to harass, cause delay, needlessly increase the cost of
litigation; (2) supported by existing law or by anon-frivolous argument for extending
modifying, reversing existing law; (3) factual contentions have evidentiary support
or, if specifically so identified, will like have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Rule 11,

   A. For Parties without Attorney

         I agree to provide the Clerks' office with any changes to my address where
   case related papers maybe served. I understand that my failure to keep current
   address on file with the Clerk's Office may result in the dismissal of my case.


   Date of signing October        /tr t'h        2022,

   Signature of Plaintiff    ~ ~
   Printed Name of Plaintiff Alicia Ann E        s
                                            20
Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 25 of 91 PAGEID #: 205




                      AFFIDAVIT OF ALICIA A EPPS

    1. My name is Alicia A. Epps Pro Se, filed Civil complaint seeking Damages and
       Injunctive Relief alleging violation of Federal Laws against former Mayor
       and former Council members of Defendant 1, City of Cincinnati enjoined with
       Defendant 2, CMHA, Carl Lindner III, CEO Managing Owners, Defendant 3,
       United States of America Defendant 4, this Affidavit is based on my personal
       knowledge and review of Rules.

    2. Plaintiff entitled to benefit and participation in the Federal Housing Subsidy
       Program guaranteed by constitution, denied by defendant 1, elected officials
       acting under Color of Law, engaging in conduct that could reasonably appear
       to place personal interest above the Public good

    3. Copies of plaintiff exhibits a, through aa, attached to Amended Complaint

    4. Plaintiff person of Low Income eligible for Federal Housing Subsidy Program

    5. Plaintiff Homeless placed on CMHA, Waiting List, since 2013, despite paying
       debt owed to CMHA, Defendant 2, Plaintiff now resides at 729 Betton Avenue

    6. CMHA defendant 2, accepted payment allowing plaintiff to believe she would
       be returned to Federal Housing Subsidy Program in Laurel Homes,

    7. Payment was made in the presence of Ms. Shirley Colbert, plaintiff mother
       who witnessed and encouraged Transaction that occurred at 1627 Western
       Avenue Cincinnati Metropolitan housing authority around 2013, plaintiff
       applied for section 8 Certificate for Public Housing same day

   8. I Alicia A. Epps, allege further damages by Defendants 1,2,3,4 Intentional
      reckless conduct in acquiring Public land Unlawfully, Terminating, Public
      land not reserved for any one individuals use

   9. Defendants 1,2,3,4 violating federal Housing act of 1937, civil rights act
      of1964 guaranteed by constitution defendants 2, CMHA Waiting list

    10. At no time did plaintiff not follow HUD proper procedure in securing Public
       Housing remaining eligible and Homeless.

AFFIANT FURTHER SAYETH NAUGHT



                                                              signature
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 26 of 91 PAGEID #: 206
9/30/22, 2:24 PM                                                      Laurel Homes Historic District - Wikipedia



   Laurel Hoines Historic District
   Laurel            Homes              Historic       is    a
   registered historic district in Cincinnati, Ohio, listed in
                                                                District
                                                                                                Laurel Homes Historic District              7
   the ational Register of Historic Places on May 19, 1987.                                      ~.S. National Register of Historic
   It contained 29 contn1mting buildings.                                                                          Places
                                                                                                          U.S. Historic district
  All but three of the historic low-income public
  housing projects was razed between 2000 -02 to ake
  way for new condominiums.


    Contents
    History
    See also
    References
    External links
                                                                                                  One of the buildings at Laurel Homes


  History
                                            Laurel Homes was
                                            established      in
                                            1938 with 1303
                                           units     of    low
                                            income housing.
                                            An        adjacent
                                             roperty of 10 s
                                            units,     Lincoln
                                            Court, opened in
                                            1942 to black
  fanulies o y.l 2 l Apartments at Laurel Homes were leased
  to both white and to less r degree, black, families making
  it nom inall one of the first integrated housing projects in                                               OShow map of Ohio
  the United States.(3]
                                                                                                    OShow map of the United States

  Laurel Homes was the second largest Public Works                                                                 OShowall
  Administration pub ic housing project in the country_t4]                                  Location                    Roughly bounded by
                                                                                                                        Liberty and John Sts.,

  See also                                                                                                              Ezzard Charles   Dr.,
                                                                                                                        and Linn
    ■   Woolworth Building in Lexin_ ton, Kentuck by the                                                                St., Cincinnati, Ohio
        same architect, Fr~d.eri~k yv.J~arg_er.
                                                                                            Coordinates                 39°6'41 8 N 84°31'27"W
    ■   National Reglster of Historic Places listings in
        Cil'ldnn~ti, Ohiq_                               ~-                                 Area                        34 acres (14 ha)
                                                                                            Built                       1933
                                                                                            Architect                   Frederick W. Garber,

https://en.wikipedia .org/wiki/Laurel_Homes_Historic_District                                                                                    1/2
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 27 of 91 PAGEID #: 207
9/30/22, 2:24 PM                                                Laurel Homes Historic District - Wiklpedia

                                                                                                             et al.
  References
                                                                                       NRHP reference .No. 87000690ill
    1. "National Re ister Information S stem". National              Added to NRHP       May 19, 1987
       Re ister of Historic Places. National Park Service.
       March 13, 2009.
    2. Federal Writers' Pro·ect (1943). Cincinnati, a Guide to the Queen Cit and Its Nei hbors.
       p. 132. ISBN 9781623760519 . Retrieved 2013-05-04.
    3. "Cincinnati Metro olitan Housin Authority". Cincinnati Museum Center at Union Terminal.
       Retrieved 25 December 2013.
    4. Architecture in Cincinnati: an illustrated history of designing and building an American city. Ohio
       University Press in association with the Architectural Foundation of Cincinnati. 2006.
       p. 207. ISBN 0821417002.

  External links
  Library of Congress Prints & Photographs Online Catalog: Laurel Homes Building B [1]

  Library of Congress Prints & Photographs Online Catalog: Laurel Homes Historic District [2]




https://en. wikipedia.org/wiki/Laurel_Homes_Historic_District                                                            212
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Cincinnati City Council hopes to turn vacant, blighted
properties into urban farms
(: wcpo.com/news/insider/urban-farms-cincinnati-city-council-hopes-to-transform-vacant-blighted-properties




"A lot of these vacant areas are in areas identified as food deserts," Flynn said.

English Woods, for example, has acres of barren, grassy lands nee a housing complex there
was demolished a decade ago. The lot is current y owned by Cincinnati Metropolitan
Housing Authority.




Cincinnati City Council has named the English Woods, a vacant swath of land on Cincinnati's West Side, as
        a top priority to develop an urban farm on. Photo by David Sorcher WCPO contributor




                                                                                                             1/2
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 29 of 91 PAGEID #: 209
9/30/22, 2:05 PM                                                       CMHA 5-year plan would raze 3 projects



  CMHA 5-year plan would raze 3 projects
  Sharon Coolidge scoolidge@enquirer.com

   om of Ci ncinnati's largest public hou._·ing complexes are slated for demolition - a
  prosp ect that could transform nei h borhoods but has tenan      nd 'e t ide ]eacl    on
  ed e.

  Roughly 1,400 housing units                          ul di appear as Findlater Garden and vVinton Terra<'e in
  \ inton Hills and Stan]e) Ro Te                          --===-        the est nd are turned to rubble, arcor ing to
                                                                         an Housing Authori -' web ite. The land would



                                  ~--- now? They'll~--~------~-----
                                                   be giv n ion 8 voucher                                       a d sent to find




                                                                            plan ,vi h 'Ih En u ·               ·      oll
                                                                      lo        br                .                 t n eeting. Th
                                                                ·    ; official to                                   wou]d b




https://www.cincinnati.com/story/news/polltics/2014/05/26/public-housing-slated-demolition/9602943/                                  1/3
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 30 of 91 PAGEID #: 210
9/30/22, 2:05 PM                                                       CMHA 5-year plan would raze 3 projects

    t'. a       art of a ar er p an 15 · the Department o Hou ing and Urban De\·elopment to
   eradicate public-housing comple~·es. It 's a strat gy that reflects a tren acros the county o
   turn public housing into n1ixed-i c me d-velopn1ent that are fa mily-friendly.

  Advocates for the c01nplexes' 1 w- ·n ome re idents w r , U1e systen1 f v uch ers is
  diffi l       avigate and a , m , f the residents stay in the same poor areas. HUD
  officials say     1e\\" model has been _popul ar helping th m move out of poverty.

  Domonique Washington, 20, lives in Findlater -where he has lived on and off through his
  life - while he works to get his GED. He described life there as "rough, the survival of the
  fittest," because there's drug activity and other crime.

  "I can't affor to liYe                                      "     a 1in on said. "That's a fa t for everyone here."

  He supports the voucher program. "That lets people who want to succeed get away if they
  want to," he said.

  Re ident Donna Cornist described Stanley    e ower~ as a mess. "They (CMHA) ar not
                                                                                1



  tak·, care of th m. · ·ator are bro ·e old p op le ar




                                                                                                                        Id




                                                                                 financially draining. It ha to maintain
                                                                           x s, hile running a voucher program that puts


https://www.cincinnati.com/story/news/politics/2014/05/26/public-housing-slated-demolltion/9602943/                          2/3
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 31 of 91 PAGEID #: 211
 9/30/22, 2:05 PM                                                       CMHA 5-year plan would raze 3 projects




    ''These factors create the doul51e '"·liammy that has ma e many housing authorities really
    accelerate ... closing of pub]ic housing around the country," v\Titte sai<l .




https:/twww.cincinnali.com/story/news/polilics/2014/05/26/public-housing-slated-demolilion/9602943/              3/3
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 32 of 91 PAGEID #: 212
9/30/22, 2:12 PM                                          Cincinnati City Council approves infrastructure funds for MLS stadium




            Cincinnati City Council approves
            infrastructure funds for MLS stadium

                                      ESPN staff                                                                                     Apr16,2018




                                                                                                           e·~ ne ·t   f   pan
                           Cincinnati is one of three finalists -- along with Detroit and Sacramento,
                           California -- to join Nashville as new clubs in this wave of expansion.

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                                                                                                                     illion     Hi


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                               ommu ·                   1l agr emc                   1        ,.   ·

                               rding a forute>r councilm·                  ims

                           "This is a win-win, once in a lifetime opportunity," Pastor said, according to
                           WCPO.




https://www.espn.com/soccer/fc-cincinnati/story/3459421/cincinnati-city-councll-approves-lnfrastructure-funds-for-mls-stadium                     1/2
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 33 of 91 PAGEID #: 213
9/30/22, 2: 12 PM                                         Cincinnati City Council approves infrastructure funds for MLS stadium




                                    smce Jmmng ine u~L m :.!OH>, out MLS h as 1ong prioritize
                           Rrpp~d MLSstadium in Cinci11nl'lti. ~c..cin~inn~li/MEalS.
                           Namum                                                         · · · d t he
                           inclusion of a soccer-specific stadium in its expansion plans.

                              ·      the fi na rn:ial l                                                                           illionair
                                    ·                                                                                 ea o        ~h


                           stadium. But uncertainty over where FCC would build a stadium had seen the
                           process drag out.

                           Since joining the USL in 2016, FC Cincinnati has been a major success story,
                           averaging over 21,000 fans in 16 home games last season and beating two MLS
                           clubs in the U.S. Open Cup in front of more than 30,000 fans.

                           On April 7, the club set a USL record with 25,667 fans for its home opener
                           against defending champions Louisville City.




https://www.espn.com/soccer/fc-cincinnati/story/3459421/cincinnatl-city-council-approves-infrastructure-funds-for-mls-stadium                 2/2
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 34 of 91 PAGEID #: 214
9/30/22, 2:11 PM                                    FC Cincinnati stadium: City Council passes rezoning, help for restaurant owner



   Cincinnati City Council approves
   rezoning for FC Cincinnati stadium in
   West End - and controversial help for a
   displaced restau rateur
  Sharon Coolidg! Cameron Knight Cincinnati Enquirer

  Ready. Set. Dig.

  Cincinnati City Council appr ved zoning for FC Cincinnati's Major League Soccer tadium
  in the West End Thursday - a measu re derailed last Thursda. at an em otional city council


      7
  '   e're eager to get back to work on the site, as are local contractors, subcont ra ·tor
  ,-vorkers, " said FC Cincinnati Pr e ident and General Manager J eff Bertling

  The vote ½ri11 keep the privately funded, $250 million stad ium on trac k. Berdin
  Op ening is scheduled for arch 2 0 21, e start of the tean1's second 1 ajar League Soc er
  season .

   oun ·1 nit the pause button on th zoning change last week after issue with stadium
    ighbor opp up. And hat ut p uring th              dium' fi unda ·on
  was a tense week of negotiation ·with final deals struc , hours before th council meetin .

  Council passed two measures:

  The fir twas tlie actua zoning cliange needed for the stadium, which passed 7-0.
  (Christopher mitl man an d hris eelbach             excused .)

  In a separa       ote, council pron1ised to give 75,000 in city money to West End restaurant
  o        r 1'onica illiams, ho bu ·           wa hut er d to 1nake way for the stadium.
  Without thi aeal, son1e council members wouldn't have voted for the zoning change.

  Six of the sev n passed a deal to fund the b usinesswoman 's relocation - but no without
  heated debate.


  'Retail is just too risky for tax dollars'


https://www.cincinnati.com/story/news/politics/2019/02/21/fc-cincinnati-stadium-zonlng-change-city-council/2924882002/               1/3
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 35 of 91 PAGEID #: 215
9/30/22, 2: 11 PM                                   FC Cincinnati stadium: City Council passes rezoning, help for restaurant owner

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                                         full burden . hould hav fall n                                                               er
   hep                                                            uld.

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                                                                                                                                         --~
                                                                                  o         lie i                             upport of the


   Dennard said the marginalized people in Cincinnati continue to be an "afterthought."

  Mayor John Cranley, a Democrat, sided with Murray, a Republican.

                                                                                        , add. g "Jt's
    0                             u       a

  The mayor pointed out that all the money the city pledged to support the project was going
  toward public infrastructure.

                                                                                                                          incinnati ;mo
                                                                         el   1   ugh l thi R

  "vVhat I watched over the course of the last few days ...was exactly what I had hoped to see,"
  Landsman said, "Folks working together."

    Tnder terms oft                                    · ·                                       nnati                lopment
                                                                                            · it in th                . . nd and ,   k until
                                      b . un

                                                                                                                                          that



  A last-minute deal with the ballet




                                                                            ration an

  The ballet, which sits on land owned by the team and whose parking lot is slated for part of
  the development, wanted assurances about parking, noise and assess to its building.

https://www.cincinnati.com/story/news/politics/2019/02/21/fc--clncinnati-stadium-zoning-change-city-council/2924882002/                          2/3
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 36 of 91 PAGEID #: 216
 9/30/22, 2:11 PM                                    FC Cincinnati stadium: City Council passes rezoning, help for restaurant owner

    P.G. SiltenfeIB, who help facilitate the plan, called it a "good neighbor" agreement.

    lt calls fo a noise study and $500,-000 in noise mitigation funds from the team, an                                               jt
    addresses some concerns about parking and street closures. It also calls fQr the team lo pay
             500,000 to 1        ocate the ballet wlien t e time comes, but the details o where
    and when that relocation will happen are not spelled. out.

    ''This is tfie nexl step to being a gooa neighbor," Sittenfeld said, "not tlie encl of it."

   The stadium is already eh ind s · 1edule, costing it a alf n1illion dollars and construction
   officials fretted any fiuther delays could push back the planned 2021 opemng.




https:/lwww.cincinnati.com/story/news/polltlcs/2019/02/21 /fc-cincinnati-stadlum-zoning-change-city-council/2924882002/                    3/3
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 West End leaders dread
 more displacement as TQL
 Stadium opens its doors
 Oo munity I -aders are working toward buying more
  ropertles in the area to control market rates and
 create affordable ho ing.




By: Kristen Swilley
Posted at 5:00 AM, May 14, 2021

and last updated 10·01 PM, May 14, 2021



CINCINNATI -Tia Brown isn't against TQL Stadium, the Major League
Soccer venue that just opened in the West End. As the community
engagement director of Seven Hills Neighborhood Houses, the
community development corporation of the West End, she hopes FC
Cincinnati's permanent home will invite other amenities that the
neighborhood needs, such as a laundromat or a market.
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 But she's also worried about how the stadium is boosting the price of
 properties in the area.

 Brown said housing sales in the West End went up by about $ 9 5, 0 0 0
 b etween 2017 and 2020. That 111eans that the average house now sells for
 111or than $100,000 and that it's n ot uncon1mon for her to ee houses
 on Sibcy Cline and MLS for almost 7 00 ooo.

 The k}Tocketing prices are a major issue. A2019 stuo.y con                                                             ucted by
 8even
 p . - •·· . ..Hills
                .      and T1fe
                           .. ·.:. . ._ •Port
                                  ~       .   of Gt.eatoc Cincinnati Development
                                                                  c _ ...._._ ,. . _ .   ,_._     .   ;:,.__   -   ••


Atithority fonnti that 44% of households in the West End ,, ere at risk of
displacen1ent. Brown said renters 111a "e up 80% of the neighborhood
 while th e re1nainiug 20% are homeown ers. She also pointed out the large
population of senior h01neowners on fixed in om                                                 and other with lo
wage.

When taxes go up, locals feel the pressure.

' It's ju               ..,....,.,. . "'..., e facing e,i ction BrOl\11 said. "It's a fonn of
trau1na, and people are trying to go about th eir dail) lives, but at the
back of their head the , m ay be ,\·on~ing about their hon ing.'

                                                      u     ;hip forn1ed heh een Seven .Hill
and The Port. The groups' goal was to educate theu1sel ·es and other
stakeholde              about options to support ho111eowuership and real estate
investn1ent in the West End. In addition to finding rates of displacement
risk in the West End, the study 111ade a number of reconunen dations.

It suggested that low-inco1ne residents be di rected to resour ces that
\vould hield then1 fron1 displacen1ent, that existing housing be
preser ved and that j ob creation be boosted in the con1n1unity. Other call
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 Seven Hills wants to maintain the rich history of the neighborhood but
 needs the city on board to allocate money and investors. Brown said
 there could be stronger communication when developers come into the
 West End. She also said there needs to be a stronger understanding that
 developments in housing affect other elements like local businesses, as
 well as more creativity and inclusion in revitalization projects.

 "It's important to remember that there's all kinds of different people that
 have all kinds of different incomes," Brown said. "(T)here has to be
 action at a city level to say, 'Hey, we're not just going to turn a blind eye
 and just let development happen as usual.'

"The point is to pause, to be able to have partnerships in place and
funding there to make sure as a neighborhood develops, it can develop
balanced. So everybody's best interest can be at the table and
 considered."

FC Cincinnati bought a nu1nber ofprope11ies in areas including Wade
Street, Central AYenue and J ohn Street. At least 17 residents were
displaced. Just Cookiug, a soul food restaurant, was also pushed out of
              ~ -·   .   --



its rental space, and         ~~~~~~--======~~-·-~· ~~~~~._,
                                                         ·- ="


            urcli once                   .

 Monica Willian1s, who o,,·ns J u t Cooking, had already experienced
displace1nent with her fa111ily once before when public housing was ton1
 0\\-11 in the area. At the tin1e that she was forced to n10 Ye her restaurant,

she waged an effort ,,ith the NAACP and con11nunity acthists to push the
city and FC Cincinnati to help her find a new location that she could
affo .
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 to action included helping retain and attract businesses while celebrating
 historical and cultural assets. However, Brown said there has not been
 enough capital to follow through on recommendations made in the
 study.

 "Even if the displacement hasn't happened super broad just yet, the
 threat is still there because the neighborhood is still developing," Brown
 said.

 But Brown believes that with enough effort and support, long-term West
 End residents' situations can change for the better. She said Seven Hills
 has been working on getting affordable workforce housing in the area as
 an alternative.

This housing would cost less than $200,000 for homeowners and offer
rental rates lower than $1,200. The organization notes it is important to
consider working-class people who have the money to own houses but
are living in an area where houses are out of their pre-approval range.
Brown also wants renters who can afford a mortgage to have the
opportunity to stay in the neighborhood.

Seven Hills' strategy as a community development corporation is to
acquire properties in the area so they can control rates and maintain
balance in the neighborhood. The strategy is part of the organization's
work with The Port to develop the area equitably. Seven Hills also aspires
to have a fund to help seniors offset increasing tax costs.

However, it has been a difficult, slow process, and the organization needs
help. Brown has called on major developers, the city, the housing trust
fund and wealthy local residents to provide more support.
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City of Cincinnati Planning Department




The West End
Urban Design Plan

Guidelines for the Future of The Lincoln Court and Laurel Homes




                                                               Artist Rendering of Proposed HOPE VI Development in Existing Context
                                                                                                     Source: Torti Gallas and Partners
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                                                                                           named for the heavy weight champion who grew up and trained there. The
                                                                                           West End has endured many changes notably, the construction of the
 Introduction                                                                              interstate 75 highway and the construction of public housing at Laurel
                                                                                           Homes and Lincoln Court.

A Model for Urban Living Built on Our Heritage                                             The original development of the Laurel Homes and Lincoln Courts housing
                                                                                           projects marked the beginning of project based public housing In the West
                                                                                           End. Although the total project sites take up less than one quarter of the
                     A New West End Community                                              residential land area in the community, it began a trend of public housing
                                                                                           development throughout the neighborhood. Today there are six public
~ of the Urban Design Plan
                        =-=------                                                          housing projects in the West End, on more than fifty percent of the land
                                                                                           area. The West End residential community is largely a public housing
      The City of Cincinnati, through a blight study of the West End neighborhood          market with both scattered site and project based units. There is however,
      determined that the community Is a deteriorated and blighted area. The               a stable market for historic properties in the Dayton Street Historic District
      following Urban Design Plan intends to establish the recommendations fo              where residents are capitalizing on the federal historic tax credits.
      the revitalization of a portion of the blighted neighborhood that qualifies as
      an Urban Renewal area under chapter 725 of the City's Municipal Code.                The West End today is still a diverse community. Recent developments of
                                                                                           City sponsored single-family homes construction adds to the racial and
Blight Study                                                                               income mix of the families in the community. New homes valued as much
                                                                                           as $300.000 dollars (CitiRama 2000) now adjoin renovated historic
                                                                                           properties (Betts Longworth Historic District) and public housing (Existing
      In 1999, the City's Office of Architecture and Urban Design conducted a              Lincoln Court).
      blight eligibility study of the West End and found that neighborhood
      conditions exist that constiMe a serious menace to public health, safety,
      economic and social liability. These conditions substantially impair the
      growth of the community by impeding private investment that would create
      employment and preserve housing opportunities. The study determined
      that ordinary investment in the area would not occur without the aid of the
      City through Urban Renewal legislation.

West End Historic Profile

      The West End c:ommunity Is predominately an African American
      neighborhood With diverse inc:ome and cultural legacies. It is located
      adjacent to the Central Business District and the Over-the-Rhine
      communities. It is a proud community with a strong family heritage. Many
      famous people came from the West End. Ezzard Charles Avenue is                       Low-inCCIIIIB housing adjacent to   -u,         oonatz,x:tad new
                                                                                                                  hCJ11111s and historic renovation•




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                      Mound Street looking north to Clark Street
    These developments required City subside to attract private investment.
    The community still exists under poor economic conditions. Long-standing
    neighborhood businesses are relocating outside of the area.
    Unemployment and poor housing remain prominent issues to residents.
    Newer upper income homeowners are concerned that adjacent
    deteriorated housing stock may affect their future home values.


The New Laurel Homes and Lincoln Court

HOPEVI

    The HOPE VI projeet is the latest in the revitalization efforts In the
                                                                                                         Artist Rendering of Laurel Homes Streetscape
    community. In 199S, the U.S. Del)artment of Housing and Urban
    Development awarded funding to the Cincinnati Metropolitan Housing                                                                          Source: Torti Gallas and Partners
    Authority from the HOPE VI grant program. In separate grant proposals,
    CMHA calls for the demolltion of the older subsidfied rental units at Laurel
    Homes and Lincoln Court and their reconstruction on the same sites, as
    new mixed-Income rental and homeownership units. The proposal also
    includes new and renovated rental and homeownership units at Moff-site"
    locations, integrated into the existing housing fabric of the West End.

    The HOPE VI project for the West End, is one of many significant
    investments targeted for the community. In June 2001, the City of
    Cincinnati agreed to support CMHA with the construction of public
    Improvements and for the development of the new Laurel Homes. The
    agreement Includes the use of Tax Incremented Financing (TIF) 1 , initiated
    through municipal legislation as part of an urban renewal plan. This Urban
    Design Plan serves as that legislative tool.



         1
          Tax Increment Financing (TIF) - State legislation allows the City to accept service
         payments in lieu of property truces from a developer to fund public improvements, which
         would benefit a specific project area detennined to be eligible as an urban renewal area.                                            Source: Glaser and Associates, Inc.




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Existing Land Use Conditions
WEST END LAND USE

    The existing land use n the West End neighborhood is a mix that ranges
    from low-density single famlly to medium and heavy industrtal. Single-famlly
    uses are concentrated In th northwest quadrant and the southeast
    quadrant of the neighborhood. Both areas are part of local historic districts,
    the Dayton Street Historic district. located northwest and the Betts
    Longworth Historic district located southeast. There are several vacant and
    blighted lots and structures throughout the Dayton Street area. Similar
    conditions existed in the Betts Longworth area, until construction of the
                    2
    three CitiRama projects from 1995 through 2000. Developers demolished
    deteriorated and blighted structures to create vacant land for new single
    family units.

    A large portion of the West End land use is multi-family residential. The
    greater concentrations exist at six separate public housing projects sites.
    The remaining multi-family units are scattered throughout the Dayton Street
    Historic area north of Liberty Street and east and west of Linn Street.

    Industrial land uses abut residential uses north and east along Central                           a W~T ~11D N r:D IIIOIUIOOD IOU ND A""

    Parkway and Liberty Street Many of the buildings and land In the area are                         ■ UHAN ft!N !!WAL AflU

    in a vacant and/or deteriorating blighted condition. The other industrial land                    /.'-./hllltffllU


                                                                                                      LAN~g~fultlr~OFILE
    uses, west near 1-75. are stable with some newly constructed buildings.                             , \lacant
                                                                                                          Single FamllY
                                                                                                          Two Faml!y
                                                                                                            Mobile Homes
                                                                                                      -     conarega10 Housing
                                                                                                            MultfFamllY
                                                                                                            Mixed Use
                                                                                                      -     Office
                                                                                                      •     Public/Semi Public
                                                                                                      -     Commercial
                                                                                                      •     Light Industrial
                                                                                                      -     ~8m1l~~~i"trlal
                                                                                                      - Parks
                                                                                                        ~Jt7if&~01\'1as
                                                                                                                 Recreation
        2
          CitiRama is a partnership of City of Cincinnati and the Cincinnati Homebuilders
        Association (CHBA) that builds market rate housing. The name "CitiRama" is a registered
        trademark of the CHBA.




                                                                                                  4
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    Commercial land uses, churches, parks and recreational uses are located
    in the residential and industrial areas. Neighborhood schools sites also
    integrate into the blocks of residential use.

PROPOSED URBAN RENEWAL AREA LAND USE
    The land use inside the proposed urban renewal area is predominately
    multi-family residential. This includes the Lincoln Court and Laurel Homes.
    The remainder of the boundary Is comprised of a strip of one-story
    commercial uses at Linn Street and St. Joseph Church , the neighborhood
    Catholic Parish on Ezzard Charles Drive.




                                                                                      Washburn Elementary School comer of Linn Street and Derrick Turnbow




                                                                                         Proposed school closing and relocation out of the West End
                                                                                                 Sands Montessori Academy on Poplar Street




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Existing Zoning Conditions
WEST END ZONING

    The Zoning profile of the West End is a mix of residential, commercial and
    manufacturing dlsbicts. The greater part of the neighborhood is zoned hig
    density multi-family residential (R-7). There are scattered areas of
    commercial business districts (8-1 through B-4 ), transitional residential
    districts (R-7T), and res1denUal business districts (R•B) throughout the
    neighborhood. A small area of office zoning (0-1) exists north near the
    Betts Longworth Historic district and south at Central Parkway and E.zzard
    Charles Drive.

    The manufacturing zones (M-2 and M-3} also overlay a large area of
    properties in the neighborhood. The manufacturing zoned districts contain
    a large number of vacant parcels and abandoned structures. There are
    small pockets of residential structures inside these zones. Most are directly
    adjacent to functioning manufacturing businesses, creating conflicts
    between residents and business owners. Small pockets of commercial
    business also abut the manufacturing districts. Most are family owned
    stores and auto repair businesses. The general pattern of zoning in the             c:::I WESTE/fDNEIGHBORHOODBOIMDAIIY
    neighborhood reflects the land with some non-conforming uses.                       a     IRBJINRBEWIILIIREII
                                                                                        l,·'·•./'IW...,.,

                                                                                        ~O#f1M;PRORLE
PROPOSED URBAN RENEWAL AREA ZONING                                                            Development Dls1rlct
                                                                                              ~l~~I~ ~~~l~.,?n",)\T~i,~rban)
                                                                                              Bminess
                                                                                              lnstltutlonal Residential
    Inside the proposed urban renewal boundary the zoning is high-density               -
                                                                                              Ught Manutacturlng
                                                                                              Heavy Manufacturing
    multi-family (R-7) and commercial business (B-3) .. Several other zoning                  Bingle Famil'f
                                                                                              Bingle Family (medium density)
                                                                                              TWo Family
    districts border the area including at the southern edge, a R-B (residential              Mult~Famlly (Low Density)
                                                                                              Mult~Famlly (Medium Density)
    business} and 0-1 (office} and at the northern border a M-2 (medium                       Mult~Famll)' (High Density)
                                                                                              Residence-Business (M lxed Use)
    density manufacturing) zone. The HOPE VI development will not require                     Residence View
                                                                                              RIVerfront (Rec/Res/Com)
    zone changes for implementation.                                                          RIVerfront (Com/Indus)
                                                                                              RIVerfront (Heavy Indus)




                                                                                    6
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Existing Conditions
Proposed Urban Renewal Area

     The Urban Renewal area recommended by this plan is the current Llncoln
     Courts and Laurel Homes pubfic housing. The blight study documentation
     for all buildings and Infrastructure has determlned that the L ncoln and
     laurel sites qualify as a deteriorating and blighted area.

     The existing structures at both sites are dilapidated with out dated plumbing
     and electric facilities. The Infrastructure that supports the area is more than
     50 year old . lnfrastruciure cost to maintain units at Lincoln and Laurel is a
     growing financial burden for the CMHA organization. The HOPE VI
     revitalization WIii eliminate the blighted conditions and bring new llfe to the
     residents of the Lincoln Courts and Laurel Homes projects.




                                                                                           a     Recorn mended Urban Rene.'MII
                                                                                                         Boundary Area
                                                                                           l::II West End Neighborhood Boundll!ll"y
                                                                                           ~.:.~:} Buldlngs
                                                                                           / \ / Pavement
                                                                                                   Property Parcels




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                                                                                       Lincoln Court - Demolition and Reconstruction
Revitalization Strategies
                                                                                            The ·      n Court development will demolish all of the existing project area.
                                                                                            Th1s includes a total of 53 three and four story residential buildings, a
Future Land Use                                                                             Community Relations office, existing site improvements. utilities and
                                                                                            roadways.

HOPEVI

       The revitalization strategy for the plan incorporates the following areas:

  1.   The demolition and reconstruction of the Lincoln Court housing units as a
       mixed income homeownership and rental apartment complex.

  2.   The demolition and reconstruction of the Laurel Homes housing units as a
       mixed use homeownership and rental apartment complex.

       The goal of the Urban Renewal Plan supports the development of the
       HOPE VI new mixed-income housing development The objective of
       creating modem rental and homeownership units in a single community
       follows the change in direction nationwide in the delivery of public housing.

       The new housing unit designs for HOPE VI expect to attract both market
       and subsidized tenants. The design concept provides for housing,
       commercial retail and park settings at one site.




                                                                                                                     The New Lincoln Court Site Plan
                                                                                                                                 Source: CMHA HOPE VI Lincoln Court Application




                                                                                        8
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The development includes 500 new units designed 1o Integrate with the
surrounding community's architectural scale. All new utilities are under
ground with a new roadway plan tbat reopens a portion of Elizabeth Street
from Linn Street to Cutter Street. CMHA hopes to capitalize on the current
strength of the market for homes in the West End.

The new Lincoln Court includes two and three story brick townhouses with
parking courts and a senior building. The new building fa<;ade design
compliment the historic character of the West End.




                                                                                      Typical Building Facade of new Lincoln Court Units
                                                                                           Court Street looking west toward Linn Street
            Central Avenue looking north to Ezzard Charles Drive




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Laurel Homes - Demolition and Reconstruction
    The plan at ttie historic laurel Homes site includes demolition of 21
    structures of1hree and four story residential buildings. Demolition also
    includes several one story commercial structures on Linn Street. The
    recently renovated units at the northwest comer of Liberty Street and Linn
    Street will remain. The □ew Laurel Homes houses 630 units, including the
    recently renovated area and combine 372 family rental units 157 public
    housing un1ts, 161 market rental units and 128 homeownership units.

    As in the Lincoln COurts, the new Laurel Homes offers a mixed-income
    housing opportunity in the City of Cincinnati. The plan for Laurel Homes
    includes a broader mix of unit types.

    The design concept of the new Laurel Home buildings promotes two and
    three story-attached tQ1Nnhouses, de         single-family homes and
    mansion flats. The flats are oriented towards the public street and include
    individual front stoops, garages or parking pads at the rear, accessed by
    limited use narrow roadways. The goal of the design is assimilation into the
    existing building environment of the mostly historic West End Community.




                                                                                             The New Laurel Home Site Plan
                                                                                                                             Source: Torti Gallas and Partners




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                                                                                        Retail Mix

                                                                                             T HOPE VI project includes an element of economic development
                                                                                             CMHA is promoting a strategy of economic growth at its sites along the
                                                                                             Linn Street corridor. The demolition of the existing retail at Linn Street
                                                                                             makes way for a revitalized business district between Ezzard Charles Drive
                                                                                             and Derrick Turnbow Avenue. The new economic development area
                                                                                             serves residents of the new Lincoln Court and Laurel Homes.




                 Artist Rendering of Laurel Homes Streetscape
                                                   Source: Torti Gallas and Partners

The HOPE VI Laurel Homes plan provides open space with parks and
broad street vistas. The new infrastructure of public streets and narrow
passageways frame the buildings in small blocks and tree lined pedestrian
walkways.




                                                                                              Artist Rendering of Mixed Use Commercial/Residential Streetscape at Linn Street
                                                                                                                                                     Source: Torti Gallas and Partners




                  Artist Rendering of Laurel Homes Streetscape
                                                    Source: Torti Gallas and Partners




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Implementation Partnership                                                       Self-Sufficiency Program (SSP)
       The HOPE V1 development in the West End is a financial partnership             CMHA plans to embark on an aggressive, results oriented self-sufficiency
       of Cincinnati Metropolitan Housing Authority, the Community Builders           program (SSP) for the new residents of HOPE VI that will expand the
       (TCB), the City of Cincinnati and the U.S. Department of Housing and           welfare-to-work initiatives of the State of Ohio and Hamilton County. The
       Urban Development. It is also a community partnership of the                   program will prepare residents for jobs and homeownership and provide
       residence councils from the Laurel Homes and Lincoln Court public              daycare, after-school programs, transportation and counseling on
       housing, the West End Community Council. Together these partners               maintaining self-sufficiency.
       helped transform public housing into lively sustainable communities
       with a mixed-income resident base.

       Relocation options wara of vital importance to the HOPE VI
       implementation. CMHAand the re idence councils developed a
       process that assured existing residents various options for relocation.
       Existing residents in both the Lincoln and Laurel housing could:

       1.   Remain at the project site by either..

            • Moving into in temporary housing

            • Moving to new housing after construction or

            • Purchasing a unit through the homeownership program.

       2.   Rent a unit in the West End that is owned by CMHA but outside
            the site.

       3.   Rent a unit not in the West End that is owned by CMHA, or

       4.   Receive a Housing Choice Voucher to rent private-market
            housing.




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Related Activities
     Other major projects have committed to development in the West End. The
       lans for many of these developments have determined the site 1n the
     neighborhood. A new YMCA facility is planned for Liberty Street west of
     Linn. The new Community Action Agency "Head Sta program wm build
     it's new facility on Richmond Street directly adjacent to the Lincoln
     Community Center. The Cincinnati Recreation Commission has committed
     to the renovation of the Lincoln Community Center. CMHA in partnership
     with the City of Cincinnati Recreation Commission plans a $2.7 million
     renovation and expansion of the center in conjunction with the HOPE VI
     project.


     Plans are underway to expand the West End Health Center complex on
     Ezzard Charles Drive, and the Otto Budig Academy of Cincinnati Ballet is                         Lincoln Community Center
                                                                                             Targeted for expansion through a partnership of
     expanding its facility on Central Parkway. The City of Cincinnati plans for              CMHA and Cincinnati Recreation Commission
     streetscape improvement at Linn Street. The committed project list
     represent the various interests involved in the revitalization of the West
     End.

     The planning department is working with the West End Community Council
     and other neighborhood stakeholders on the Context Plan. It will develop
     an overall community redevelopment strategy.




                                                                                   13
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Conclusion
The Impact. of HOPE VI

ANIMPRO            WEST END COMMUNITY

    The Blight Study conducted by the City of Cincinnati determined the West
    End effgible for Urban Renewal declaration as a blighted and deteriorating
    neighborhood. T h e ~ of the HOPE VI development a,e 1D
    remove a large area of blight (existing sites of Lincoln and Laurel) from the
    West End community. It Is a major effort In revitalizing the West End
    community. The total financial investment in the community of more than
    82 million dollars is the largest single redevelopment proJect budget to date
    in the community. The impact of the investment is a renewed interest in
    West End neighborhood development.

    The actions described in this plan outline the effort of the partners In HOPE
    VI to remove blight and assist in the revitalization of a neighborhood. The
    total area of approximately 44 acres of new and renovated residential and
    commercial properties is a catalyst for growth and rebirth in the West End.
    The goal of mixed-income housing offers a new approach to residential
    development in the City of Cincinnati. The economic development plans at
    Linn Street complements this aggressive approach to public housing
    delivery.

     The combination of semi-public development, supported by City sponsored
     public improvements is a catalyst for other Cincinnati communities. The
     creative use of Tax Incremented Financing is an example of City and
     business collaborating to implement proposed development. The success
     of this project creates a spirit of rejuvenation in a community long thought to
     be depressed and forgotten.




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 Appendix


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     ~ by the-CJty Of ttnemef. -~ tmanf af'~ J : l l
     Design. · It wHf show the scqpe of the blight stuQy anQ .~           used to
     determine the blighted conditions. A full copy of the study ta .available for
     viewing upon request frQm Interested parties.




                                                                                     15
             Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 57 of 91 PAGEID #: 237
 10/1/22, 3:37 PM                                     Will Cincinnati, Sacramento or Detroit join Nashville as an MLS newcomer?


      The expansion race to join Nashville
      5y - Jeff Carlisle



      LIVE Transfer Talk: Juve want January
      deal for Alba
      52m - ESPN



      Smalling header earns Roma win at Inter
      51 m - Reuters


      Llorente and Morata score as Atletico
      sink Sevilla
      57m - Reuters



      Scamacca strikes as West Ham ease
      past Wolves
     1 h - Reuters



     Antony happy to learn from Ronaldo at
     Man Utd
     2h - ESPN



     Chelsea's Gallagher saves Potter's Prem
     debut with late winner, but defensive
     issues persist
     3h - Tom Hamilton



     How VAR decisions have affected every
     Premier League club in 2022-23
     3h - Dale Johnson




          Wi ll Cincinnati, Sacramento or
          Detroit join Nashville as an MLS
          newcomer?

                                   Jeff Carlisle                                                                                  Dec 19, 2017
                                   U.S. soccer correspondent




                           With an expected announcement on Wednesday that MLS has granted
                           Nashville an expansion franchise, focus now shifts to the cities in contention for
                           the second spot. Cincinnati, Detroit and Sacramento are still in the running but

https://www.espn.com/soccer/major-league-soccer/19/blog/post/3317889/will-cincinnati-sacramento-or-detroit-join-nashville-as-an-mls-expansion-fran.. .   1/4
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 58 of 91 PAGEID #: 238
10/1/22, 3:37 PM                                          Will Cincinnati, Sacramento or Detroit join Nashville as an MLS newcomer?


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                         trying to convince that its stadium deal is done, even though it isn't.                                                 ~    ,
                                                                                                                                                  ~~~




                                                                                                          lk of pi"o



                         MLS has been through enough stadium gymnastics in other locales -- lately it
                         has been Miami -- to know that a deal isn't done until the ink is dry and the
                         litigation options of opponents have been exhausted. So as impressive as
                         Cincinnati's USL attendance has been -- more than 21,000 this season -- and,




                         Sacramento's stadium solution is completely done, so much so that it has begun
                         preparing the site. It also has more than 10,000 season-ticket deposits and a
                         jersey-sponsor deal with UC Davis Health. Its problems focus more on the
                         investor side, and it's beginning to look like Sacramento has been caught in a
                         game in which the value of certain criteria changed.

                         MLS has stated that the viability of an expansion bid was basically a three-
                         legged chair comprised of ownership group, market and stadium. That last
                         criteria has long been viewed as the most important, given the drawn-out
                         process that accompanies getting approval and ultimately building a facility. It
                         was a finalized stadium plan that made Sacramento's bid so compelling, along
                         with its record of crowd support.

                         There has been a shift, however. If this expansion process -- one that has seen




https://www.espn.com/soccer/major-league-soccer/19/blog/post/3317889/will-cincinnatl-sacramento-or-detroit-join-nashville-as-an-mls-expanslon-fran...                2/4
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 59 of 91 PAGEID #: 239
 10/1/22, 3:37 PM                                     Will Cincinnati, Sacramento or Detroit join Nashville as an MLS newcomer?


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                         Nashville, which will build a $275 million stadium, is set to be announced it was awarded an MLS expansion
                         franchise. Nashville SC/HOK




                         Just prior to its Dec. 6 presentation before the expansion committee,
                                                                       "hitm,, · lit li r h 1 .ha ,, Dr. C,r'f I ar!-h.
                         · i <'d 1h in ·estc gr up. ne that also includes lead investor Kevin Nagle, San
                         Francisco 49ers CEO Jed York and Fulcrum Property Group president Mark
                         Friedman. The addition of Whitman was seen as the final piece in the puzzle
                         but, now, it appears as though there remain a few more pieces to slide in.

                         The fact remains that Nagle doesn't have the same financial heft as the three
                         bids he's competing against. In February 2015, he sold pharmaceutical company
                         EnvisionRx to RiteAid Corp. for $2 billion but, according to a report in the
                         Sacramento Bee, the share that he and other investors held amounted to 35
                         percent. Nagle is wealthy but not in the same stratosphere as the competition.
                         And it's worth noting that, out of York, Friedman, Whitman and Harsh, none of
                         that quartet was brought in to be the lead investor.

                         Meanwhile, Sacramento's long, methodical path toward expansion, once
                         thought to be beneficial in terms of time, has also worked against it in some
                         ways. When this journey began in 2014, expansion fees were around $70
                         million and its proposed stadium was set to cost $180 million. Now the fee has
                         more than doubled and stadium construction costs are set to go up by $70
                         million, making for a $150 million increase.



https://www.espn.com/soccer/major-league-soccer/19/blog/posU3317889/will-cincinnati-sacramento-or-detroit-join-nashville-as-an-mls-expansion-fran...   3/4
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 60 of 91 PAGEID #: 240
10/1/22, 3:31 PM                                  FC Cincinnati stadium groundbreaking today, but issues over land, parking remain




                       Cincinnati.com I The Enquirer

 NEWS


 FC Cincinnati stadium breaks ground, but
 fights ahead of parking, promises
             Sharon Coolidge
             Cincinnati Enquirer
 Published 9:25 a.m. ET Dec. 18, 2018      I Updated 6:29 p.m. ET Dec, 18, 2018
 Hundreds of people turned out in the West End to help break ground on FC Cincinnati's new
 stadium in the West End.

There was pomp.

There were speeches.

There were miniature shovels for anyone who wanted to turn a piece of dirt themselves.

 But there were also questions. And behind the scenes, lingering tensions.

Will FC Cincinnati secure all the land it needs? It hasn't yet.

Where will fans park once the stadium is built? Where should Hamilton County build a
promised garage?

                eteam pa·




With so much unresolved, Cincinnati's planning commission hasn't yet signed off on the
stadium. Make no mistake though, he e mat e mu st be settl d before 1arch 1, \'\·hen thf'
stadium's foundation is set to be poured.

Any delay beyond that and there's a risk that the stadium won't be done in time for the 2021
soccer season, when the team's lease on Nippert Stadium runs out.

Major League Soccer Commissioner Don Garber said FC Cincinnati's stadium project is one
of the quickest and most streamlined he's seen come to fruition. But, he added, building
https://www.cincinnati.com/story/news/2018/12/18/fc-cincinnati-stadium1:Jroundbreaking-today-but/2299433002/                         1/4
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 61 of 91 PAGEID #: 241
10/1/22, 3:31 PM                                                                           FC Cincinnati stadium groundbreaking today, but issues over land, parking remain



There is roughly an , 8 o,oo gap in what                     1                                                      e plans call for the team to pay.

"Thi need to be discussed publicly," ann saia. " think the poin t is, are we goin
                            not? Typically we ely on our own appraisal. If we're oin to
                                              ·                  -_-:..::.-::..-::. ·                  \'e a 'e to ete1mine it'                  or the pu 1i good. t eem
                                                                                                         1        yit. "
    ------~-----~--~

FC Cincinnati President and General Manager .Jeff Berdin said he' hopeful a deal can he
                                                                                          dr d of millions of dollars from our ownership roup that will


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Compare that to Columbus, where city, county and state leaders are working to keep the
Columbus Crew Major League Soccer team with a new stadium. There the city and county
have each promised $50 million for the project, with another $15 million from state
taxpayers.


Parkingwoes
Under city code, the stadium must have 5,300 spaces. And plans do show more spaces than
that. But parking won't be as easy as it is now, with parking garages within easy walking
distance to Nippert stadium.

Many of the proposed spaces for the new stadium are throughout downtown, with shuttles
delivering fans to the stadium.

  amilton ounty com, i ioners promised           ui d a 1 ooo- ace gara e near t11e sta ium in
three separate votes. But they're backing off the idea, saying they only agreed if it would spur
development and it would be economically feasible, something they don't yet know.

                                                                                                    eme         .                oecause toe o                    tingency is that FC
                                                                                                                                  ned .

There has been some discussion of a garage half that size, but there is no final deal and
there's not even a promise that a smaller one would be built in time for the stadium's
          Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 62 of 91 PAGEID #: 242
10/1/22, 3:31 PM                  FC Cincinnati stadium groundbreaking today, but Issues over land, parking remain



stadiums is difficult and parking is an important piece.

"I mean, it's not just going to be for the stadium but for this growing community," Garber
told The Enquirer. "We have a number of projects where parking is really hard and you have
a beautiful stadium and people can't get there. That's a problem. It takes away from the
excitement that everybody has after the bloom falls off the rose of being new."

                       Cincinna                t and           era] Mana er Jeff Berding and Han1ilton
                     ioner Deni

     ·ding t                 ers for tl land and count , leaders for a garage, specifically
                                                                                                       11
       · ·                   For her art, Driehau          1 wa "d light 0 th county would




But the buoyant speeches masked problems in the background.

 Bertling thanked city leaders for the land and county leaders for the garage, specifically
referencing the 1,000 space -which

What still needs to be worked out:


Land acquisition

                                      -~_.;;_
                                                    · ces ofland                  e project, botn belonging to t11
     nmiv. The t                   ~ - - - - arking                    ~---         d o e incinnati Police DL t
L-------~
           Char




                                                               venue.

                                                                                                       David Mann,




Some council members want to see the team pay the full, appraised value, others say a
compromise where the team invests in other parking is enough.
                Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 63 of 91 PAGEID #: 243
10/1/22, 3:31 PM                                 FC Cincinnati stadium groundbreaking today, but issues over land, parking remain



 opening.
            .
 That has Bertling worried, but arts leaders are concerned too. Where, they wonder, will
 people park on game days if they're going to Music Hall, Memorial Hall or the Shakespeare
 Company.

 Pl     ,       ◄C
             incinnati liasn t \-vorked out where Cincinnati Ballet patrons will park. The ballet
 sit s on land th earn a uired o build the stadium, and while the ballet can stay, stadium
 plans sho v th parking lot wou]a be demolished for the stadium itself.

 More: FC Cincinnati stadium groundbreaking: What you need to know

 More: FC Cincinnati stadium groundbreaking: Six questions about the stadium answered

 More: Hamilton County scaling back FC Cincinnati parking; may build garage near Findlay
 Market


 City permits
Groundbreaking isn't really building so planning commission approval can wait, though not
for long.

Right now the project is in demolition stages, and those permits have been secured. Actual
foundation construction starts in March, so that becomes the actual deadline for plan
approval.

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                                                                                                                                        es to ,Joh
      reet and ea ·t to Ce             al Park'Way. Stargel Stadium, wnich it there now is moving acros~
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https://www.ci~cinnati.com/story/news/2018/12/18/fc-cincinnati-stadium-groundbreaking-today-but/2299433002/                                          4/4
Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 64 of 91 PAGEID #: 244




 Coun cil approves FC Cincinnati deal,
 clearing the way for W est End
 stadiunt




 By Chris Wetterich - Staff reporter and columnist, Cincinnati Business Courier

 Apr 16, 2018 Updated Apr 16, 2018, 10:20pm EDT

 The Cincinnati City l ouncil approYed a memorandum of understanding on Monday
 \-\1th F incitmati that probabl , 111 pa e the wa ' for the club to build a Major League
   occer -tadium in the \Ve. t End behind Robert A. Taft Infon11at1on Technology High
  choo1.

 The 5-4 ,ote mean the city will provide a major S35 million assistance pa<.:kage to the
 team, which j co-o      db · American Fi nancial Corp . co-CEO Carl Lindner III and
 Cintas Corp. EO     t Fann- r ahiong others. That include funding for infrasuvcture
 and traffic impro m n and site prepar ation. That figure does not includ e S 15 m illior
 that Hamilton County \ 'I.ill prO\ide lo build a parking garage.

 Council m ember            ndsm n , ~.. tamaya Dennard and Wendell
 Young all Democrats, voted ..no    n the ordinan ce.

 Mo t of the ci , mon ey comes fro m restricted sources such as a tax-irrcrement financing
 di tri t and the city· hare of the county hote1 tax, but S6.-4 million ome~ from the
 city hare of Blu e .Ash Airport mone , and 2-5 million in mane · from fiscal year 2019's
 capital b udget. Bo h re ur e that could ha Ye gone to general city serYices and capital
 need .

 .. Thi i Yery, very po itive,· said l\la.7or hn         ·...You know who agrees v.ith me?
 My predec or fa ·or            k Mallo . vVhat I \·e heard is proph ets of th e statu quo
 vvho want to do n othing."

 The legislation was subject to several last-minute changes, including severing Over-the-
 Rhine, which is one block away from the stadium, from a community benefits
Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 65 of 91 PAGEID #: 245




 agreement of which the council must approve in order for FC Cincinnati to recei e city
 funding. City Hall sources say that condition came from , ~ice Mayor hri    her
    ·u m n, ;.m independent, who did not immediately retun1 a te)d seeking commen t.
 Coun il' ·ote on Monda i not quite the final step in the city' F Cincinnati sag     ut
 it could constitute enough o a sure Major Leag~ Soccer that the club ha a ite for a
  tadium e ' timated at 212.5 million. ML.5-officials are scheduled m et on Tuesd.ay.
  n 1 ue ex ansion is on th a nd .

 One major item included in the legi la lion i a communit , benefit agreement -which
 was si_gn d the \\1e t End Community uncil pre ident on onda and                   rith
 item like minority b ·          incl ·oll, t   c tadium design and other items - m t
 get City ouncirs OK DeI1tlre-a1 , • fund are rele ed. There could be chang to that
 agreement, .\ ·hich a national expert ai Monday read more like a develop r-v,rli t n
 graft than an agreement produced through painstakin~neiotiation. Zoning changes
 other poten tial 1egis1ation also could put the matter b efo e co uncil.

 Landsman, in particular, was critical of the agreement, including the fact that a final
 development agreement with FC Cincinnati will not come back to City Council for a
 vote. For example, that leaves it up to the city manager to negotiate how revenue from a
 750-space garage or surface lot will be divided - will it all go to FC Cincinnati or will the
 city get a share and how much? The community benefits agreement also left questions,
 he said, including whether there was any way to ensure affordable and market-rate
 housing actually would be built in the West End as FC Cincinnati has said.

 Council won't have approval over key provisions of the development agreement and
 important details within the community benefits agreement will be left until later,
 Landsman said.

 "I assume that's rhetorical," Cranley told him.

 "Yet important to say," Landsman responded.

 Denn rd called th d al "'tii kle-:d ,vn economic . The Cincinn ti Public Schools, which
 re eiYed the full pa~n1ent in lieu of roperty tax:es that it \\ ould be <1v,ed under any other
 commercia.1 developmen t, got tu negotiate for its money, while \\~est End re idents were
 Lold what they vvou]d get - S100,oo o per year, Dennard said

 · \1rnt mal,e - me 'ad is because the community hasn·t been given any recognition or
 resources from the city, they re willing to take anything. S1 0 0, 0 00 is nothing,'" he aid.

 Councilman Jeff Pastor. a Republican ·li aid a \ffitten CBA was essential to getting
 his -yes" vote defended it, sa)ing, :hat umber is good enough?"

 Dennar d pres ed him on where the S100 o o o figure came fr01 .
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 "The $100,000 was brought to my desk," was all Pastor would say. "I get a little
 disconcerted when people try to lecture me about poverty."

 Seelbach rounded out the opposition by noting that the Department of Community and
 Economic Development, which usually presents at least some details on the city's return
 on investment even in the smallest economic development deals brought to council, had
 no analysis for the stadium deal.

 "To pull a number right now w~uld be pretty difficult," said Philip Denning, the
 department's director. "I'm not going to do that."

The FC Cincinnati incentive package worth about SQo million when a £15 million
parki n garage to be built b the county i thrown in 1 one of the largest given to a
developmen t in recent ears and its value is eyen more. The fig11re doe not inclu e a
break on the earnings taxes F Cincinnati will pay that is included in the memorandum
of understanding nor the property tax break for dty and county levies.

 When the city and count brought General Electric to the Banks, they passed a 57.3
                          T


 million incenth-e package that is tied to GE bringin 18oo Job to the site eventually. Ifs
 mtlmm,11 how many permanen l jobs FC Cincinnati will retain and create in Cincinnati.

GE's economic impact is projected at $1 billion per year. FC Cincinnati's new stadium
would have a one-time $600 million economic impact from construction and a $62
million per year impact on an ongoing basis, according to a study by a former Ohio State
University professor and a Columbus economics firm.

"We don't just give away money," Seelbach said. "When we give people money, it's
because it will benefit the city."

But Council members P.G. Sittenfe1!1 and David Mann, who we_rekey to_brokering,the
  · 1Jor_1he jncentive packa~. pointed to the local and minority hire provisions
conn ected to the sta dium construction as well as the annual payments made to the
~choo1 district. Sittenfeld aclmowledged the history of the \'Vest End including the fact
Lhat th e Kenyon-Barr neighborh ood v~ithin it vrns de txoyed by the constn1ction of
Interstate 75. but said the dty can and will do better.

"I'm excited and hopeful that Cincinnati will soon be home to a Major League Soccer
team. But I'm a 'yes' vote today because I think this is good for the people of Cincinnati,"
he said. "The West End deserves better than it's had. I think that better future can be
married with this deal."
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9/29/22, 1:30 PM                                         Lindner family on what FC Cincinnati ri'leans for legacy, community



                                                                                                                               Watch Now


                                                        WCPO

 i Quick links...          v




      SPORTS           >   FC CINCINNATI




      Lindner family speaks on what
      FC Cincinnati means for legacy,
               •
      community




      Carl Lindner Ill, the CEO and majority owner of FC Cincinnati, and his wife Martha spoke to WCPO about the day they cut the
      ribbon on TQL Stadium and what the franchise means for the community.




               By: Tanya O'Rourke

https://www.wcpo.com/sports/fc-clncinnati/lindner-family-speaks-on-what-fc-cincinnati-means-for-legacy-community                           1/5
            Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 68 of 91 PAGEID #: 248
9/29/22, 1:30 PM                                          Lindner family on what FC Cincinnati means for legacy, community



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       CINCINNATI - The Lindner family name can be found across the Tri-State,
      from the Lindner Family YMCA in the West End to the Lindner Center of Hope
       m       ason. This is a family that knows about legacy, and that each generation
      has a name and a responsibility to live up to.

       Carl Lindner III, the CEO and majority owner of FC Cincinnati, and his wife,
      Martha, spoke to WCPO about the day they cut the ribbon on TQL Stadium.

      "I think the reason why the families, you know, originally got involved together
      to invest in something like this was the wave of legacy to our community, to
      help continue the tremendous trajectory of professional soccer and MLS,"
      Lindner said. "And that, so can't wait for the first game. I'll probably cry again,
      or probably get emotional again at that time. But I love it when you look at the
      audience, and the supportive fans that we've had. There's lots of families."

      The Lindners watched as West End Pride youth soccer teams took the pitch for
      the first time at the stadium's opening May 1. And what does it feel like to hear
      that beautiful, joyful noise?

      "I think that's part of the legacy. But it's going to be our children, our
      grandchildren and their children," Martha said.

      His father, Carl Lindner Jr., helped rescue the Reds, and now the son has
      started an entire major league sports franchise in Cincinnati.



      "My dad would be oveiwhelmingly proud," he said. "And he's always been
      supportive, you know, over most things that his kids wanted to invest in or, you
      know, start or be involved in from a charity standpoint. So my dad would be
      oveiwhelmingly supportive and excited and proud."


https://www.wcpo.com/sports/fc-clncinnati/lindner-family-speaks-on-what-fc-cincinnati-means-for-legacy-community                             2/5
Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 69 of 91 PAGEID #: 249




Today J ust Cooki ng is located at 1144 California Avenue in Bond Hill.
Despite being worried about whether the new location would work, she
has been enjoying her new space.

"I love it," Williams said. "It's a beautiful community, and it's an
inspiration to me to see so many people of my ethnic background be
homeowners and business owners. I love my new community. It's very
diverse. I really like it out here."

Williams finds the new spot practical because it is connected to the area's
major expressways. he encourages people who n1ay be struggling to stay
in the West End to consider co1ning to Bond HH .

But R obert Killins, like Bn n ·n, is fighting to keep longtilne residents in
the West .. nd.

"When you're leaving because you have an opportunity, [because] you
want to, that's okay," Killins said. "But when you're leaving because you
simply have been priced out and you cannot find a place to stay, then
that's not acceptable."

Killins is the president of the West End Community Council. He said he
knows that displacement is coming and has observed a handful of
buildings that were taken down for parking near the stadiun1. Killins also
noted the buildings that have been sold where people are paying more to
live.

Although access to affordable housing and stability have been
longstanding challenges for the West End, Killins said they have been
made worse in recent years by a number of issues.
                               Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 70 of 91 PAGEID #: 250


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            The Cincinnati   .               #Top Tags
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         NEWS



        FC Cincinnati celebrates West End Stadium
        construction milestone
        0 Jul 23, 20 20 ~ earl H Lindner Ill EC Cjnclnnati, s~ . soccer stadium         J&0S1.filld.




                                                                                                                                . .ph ...




        A rendering of the final seat design for the FC Cincinnati stadium. Photo provided

        By FC Cincinnati communications

        on July 7, cc Cincinnati marked completion of steel erection at West End Stadium by
        placing the last steel beam 110 feet high, the stadium's highest point.

        Set to open in Spring 2021, West End Stadium will be an iconic, instantly recognizable,
        world-class soccer stadium. West End Stadium will stand alone among North
        American stadiums and take a place among the world's most distinctive sporting
        venues offering unrivaled matchday experience for fans. The stadium will truly be
        "The Jewel of the Queen City's Crown," say club owners.                                                          ·rrouble Falling          ~ ·Best Protein-     ~ ·s1ow De
                                                                                                                          Asleep? Tly These          Packed Meals for     Signs 01
                                                                                                                          MedltatlO!l-               Breakfast Lovers     with lh<
        "Today is another milestone day tor FC Cincinnati and a testament to the efforts put
        forth by our project team to     ive our citv a magnificent world- loss venu il.," FC




        to move into the next phase of the club's evolution. We're grateful to them, all the
        subcontractors and laborers tor their exceptional work to bring West End Stadium to
        life as a stadium that will represent to the world that Cincinnati has become one of
        the leading soccer cities in America."




                  he project is a majority Union build, employing thousands of workers and
        paying prevailing wage. As of the end of May, 78% of the construction contracts
        valued at $160 million dollars, have been awarded to MBE, SBE and WBE certified
        businesses.

        ·we are proud of our team' w o r~ to !;{riv e    &qni() f 11 i ~lys1Qn o n this important




                                    Cincinnati Herald


                                                                                                                                                                                     1/2
Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 72 of 91 PAGEID #: 252




CINCINNATI (WKRC)- For many of us, rent was due May 1, but what if you
can't pay? What if you couldn't pay April either?

We've heard about the stress of staying home with your entire family, even
becoming your kids' teacher. Nick DiNardo, a Legal Aid managing attorney,
said his clients are dealing with a whole other level of stress.

"Now, if you add to that, not having any money coming in because you've lost
your job and you don't have savings and you can't pay the rent and you're
worried about having to go to a shelter in a couple weeks," DiNardo said.

'\i   'ERT!SIN

Nearly 28,000 households in Cincinnati and an additional 23,000 in the county
reported being severely cost burdened in 2017, according to Local Initiatives
Support Corporation HUD defi nes cost burdened as families "who pay more
t 1an 30% of their income for housing. ''

In April, t he National Multifamily Housing Council tracked data from 11 .5
million apartment units across the country. Thirty-one percent of renters had
not paid their rent in the first week of April. That was up 19% from the ffrst
wee k in Ma rch.

"In Cincinnati, that figure is likely to be a little bit higher because we have a
higher density of rental property in the city of Cincinnati than as the nation as
a whole," said Chris Nicak, Co-Director of Research at the Alpaugh Family
Economics Center at the University of Cincinnati.

That mean s many low-income renters are facing potential eviction. DiN ardo
said many are still waiting on unemployment or stimulus checks. Legal Aid and
organizations like St. Vincent de Paul are working to provi de limited rental
assistance.
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                                       Executive Summary
The lack of affordable housing throu ghout our nation is the root of several social problems,
including poverty, homelessness, and educational and health disparities. Furthermore, the United
States is amidst an eviction epidemic-millions of families are evicted each year. Evictions occur
when landlords initiate the involuntary moves of their tenants formally through an eviction court
or informally through other means. This report presents an analysis of formal eviction filings in
Hamilton County, Ohio from four consecutive years, 2014 to 2017. The main findings follow:
  o Nearly half (42.3%) of all residences are renter-occupied in Hamilton County. From 2014 to
       2017, an average of 12,439 residential evictions were filed in Hamilton County. The eviction
       filing rate (8.7%), or percentage of renter-occupied units that experience an eviction filing, sits
       well above the nation's average (6.3%).
  o Importantly, less than one percent (0.4%) of eviction filings sampled in 2017 were decided in
       favor of the tenant. A large majority were either in favor of the landlord (47.6%) or were
       dismissed (49.9%). Cases may be dismissed at the landlord's discretion for many reasons--
       due to their negotiation with the tenant, or due to the tenant's decision to vacate the premises.
   o Unlike in criminal court, defendants (tenants) in eviction court are not given the right to legal
       representation. In Milwaukee, Desmond (2016) found that approximately 90% of landlords
       were represented by lawyers, while 900/4 of tenants were not. In Hamilton County, these
       disparities are even more alarming-88.2% of landlords had legal representation, while 97 .5%
       of tenants did not. As a result, knowing they must stand toe-to-toe with a lawyer, many tenants
       will not show up to court to fight an eviction .
  o While all neighborhoods and communities in Hamilton County experienced at least one
       eviction filing between 2014 and 2017,·they are highly concentrated in a few areas along
       patterns of racial residential segregation. On averag e, predominantly Black neighborh
       are those with the highest eviction filing rates, while neighborhoods with few Blade residen
                             few evictiorls Additionally, neighborhoods experiencing high rates o
       eviction frlin         also more likely to have lower household incomes and higher rates
       ~!1)' when col_'.TIPared           ghborhoods with low eviction filing rates _&,i(:11• .is more often
                    1IS a nuijor cause of poverty, rather than a consequence of it. As such, these
       neighborhoods remain poor because of systematic processes like eviction.
   o Although there are thousands of landlords in Hamilton County, only a relatively small amount
        are responsible for most evictions. Half of landlords in Hamilton County file fewer than ten
        evictions per year. Agencies and landlords known for providing housing to those in poverty
        are largely responsible for eviction filings. In every year during the study period, Cincinnati
        Metropolitan Housing Authority (CMHA) filed the most evictions, representing 3.7-7.6% of al
        residentia l eviction filin gs. n 2017, Ctv1 HA was responsible for 5,583 public housing rental
        urnts, which means that approximately 1 in 6 households received an eviction notics .
        Additionally, known landlords who manage HUD-subsidized housing complexes, Brickstone
        of The Model Group and Wallick Hendy Properties, are also in the Top Ten of Eviction-Filing
        Landlords. In total, the top ten eviction-filing landlords consistently represent about 20% of all
        filings in Hamilton County.
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          Sharon Coolidge, scoolidge@enquirer.com   Published 9:59 a.m. ET Sept. 29, 2014 I Updated 5:30 p.m. ET Sept. 29, 2014



                                              Cincinnati City Manager Harry Black has agreed to meet with Mahogany's owner Liz Rogers, but that decision
                                              didn't come until after a two hour council meeting where Rogers and her supporters sounded off at what they
                                              believe is unfair treatment.


                                              "You are my partners," Rogers told council. •1 expect you to do the right thing. I am a fighter. You will not break
                                              me. You won't."


          {Photo: The f:nquirerA.iz Dufour)   The comments come 11 days after Rogers was forced to shutter her restaurant at The Banks, Cincinnati's
                                              riverfront development. She has said the city played a role in her troubles because The Banks are not what was
promised - a live, work, play development.


Councilman Wendell Young introduced a motion Monday at Council's Budget Committee meeting that would compel Black to meet with Rogers, but
couldn't muster enough votes to force the city manager to talk to Rogers. That meant the issue was held for a future meeting.


Black stepped in.


In a memo to City Council Monday evening, Black wrote: "Due to threatened litigation, I have been intentionally measured in public statements on this
subject. To be clear, I intend to meet with Mrs. Rogers, soon, in order to discuss this situation."


He will then report back to council "to seek direction on how to proceed," he wrote.


Rogers was forced to close because she repeatedly fell behind on rent, prompting her landlord, NIC Riverbanks One to issue a vacate order.


Rogers got nearly a million dollars from city taxpayers to open her upscale soul food restaurant at The Banks, $300,000 of it in a taxpayer loan. She
remains behind on loan payments.


Rogers took the microphone, touting her success in Hamilton before moving the restaurant to Cincinnati in 2012.


"You invited me," she said. "You have a financial and citizen responsibility to make sure city gets its money back."


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She wants to pay back the loan, she said. But, she can't do that unless the city works with her to move locations. She's hoping to buy the furniture she
bought with city loan money for $12,000.


Then Rogers turned her ire to Councilman Christopher Smitherman, whom she accused of trying to sabotage her business.

On Sunday, Roger's attorney, Robert Croskery, filed an ethics complaint against Smitherman. He IICJl.lsed Smitherman of an ethics violation for failing to
recuse hlmself from votes concerning the restaurant.


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"Councilman Smitherman's clear duty... was to recuse himself from decisions regarding Mahogany's from that point forward,• Croskery wrote in the
comg_lainl "However, he did not do so. Rather, he voted (against) the loan to          L12:.   Rogers. He subsequently has spoken out against the loan on numerous
occasions."

Jos                                                                         111as a a friend of Rogers who sought Jostin out, but he determined it was not a project
       6 free articles fett.
he ·
       99¢ per month for 6 months. Save 90% .
                                                                                                                                                 bit
               Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 75 of 91 PAGEID #: 255
 2/24/2020                                             Club Staff I FC Cincinnati




                                                  FC                                               0...

       CLUB

        Menu


    CLUB STAFF

    Managing Owners

   Carl ~ , Lindne r Ill
   CEO & Con trolling Owner


   Meg Whitm an and Dr. Griff Harsh
   Managing Owners


   Scott Farmer
   Managing Owner


   George Joseph
   Managing Owner



      xecutive Administration

   :Jeff Berding
   Pres ident


   Dennis Carroll
   Chief Operating Officer




https://www.fccincinnati.com/club/club-staff
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                                                     Club Staff I FC Cincinnati


    Cody Parsons
    Chief of Staff


    Gerard Nijkamp
    General Manager


    Kimberly Eppert
    Director of Human Resources


    Mark Mallory
    Direct r f Community Develo1>.ment


   Jamie Janette
    Ass istant to the General Manager



   First Team Coaching Staff

   Yoann Damet
   Interim Head Coach


   Ivar van Dinteren
   Assistant Coach


   Jack Stern
   Head of Goalkeeping


   Diego Martinez del Campo
   Video Analyst



   FC Cincinnati Academy

   Larry Sunderland
   Director of Player Development


   Ricardo Paez
   U1 7 Head Coach


   Joshua Neff
   U15 Head Coach/ Academy Performance Specialist

https ://www.fccincinnati.com/club/club-staff                                                      2/13
           Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 77 of 91 PAGEID #: 257
10/1/22, 3:28 PM                                    This Is When FC Cincinnati Will Break Ground On West End Stadium I WVXU




     This Is When ·Fe Cincinnati Will Break Ground On
     West End Stadium
     91. 7 WVXU I By Tana Weingartner
     Published October 19, 2018 at 10:08 AM EDT




                      llltta




                                                                                                                         Courtesy FC Cincinnati I

     Turner officials say the light seen emmating from the stadium is artrstic license and the design is meant to keep noise and Jigh
     polutlon down.




                                       ess. urner ons rue 10n re ease 1nr ta pans n ay.A pub!"
    ~~.::~..:::;:-~~~;:-;::.::;~~---=-'
        undbreakmg s s                 Dec. 18 ~-~ ing out ceremony sc e ule fo r the fir t
       arter of 2020. The target da e fo         grano opening is March 1, 2021

      ur er Vice President Dave Spaulding says construction fencing should start going up
                                                   Nov. 16. Tliat date is flexi ble depending on whether the Ta

              ~~~~--
                                     I team's season extends into the postseason.
              I/


https://www.wvxu.org/local-news/2018-10-19/this-is-when-fc-cincinnati-will-break-ground-on-west-end-stadium                                         1/6
             Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 78 of 91 PAGEID #: 258
10/1/22, 3:28 PM                                    This Is When FC Cincinnati Will Break Ground On West End Stadium I WVXU

     Demolition work begins first and will be completed in four phases. Turner expects to
     have 200 to 400 workers on the site over the course of the project. The company says it
     has around 50 bid packages and expects that number to finish closer to 60·. Spaulding
     says that number is usually much smaller.

     The bid packages are divided to offer more opportunities for small business, minority-
     owned businesses and women-owned businesses. Turner set up a website where
     anyone can bid on construction-related jobs. The company also has two resource
     centers - the Turner offices on W. Court St, Downtown and Elevar's offices in
     Queensgate - where people can walk in and learn about opportunities and apply.

          nee demolition is complete, S aulding saY,S Qeople can expect to begin seeing
     progress on tne facilit in March 2019.

     11
          Starting in March is the auger cast piles and foundations, that's where you actually see
     the start of construction of the stadium and us starting to come out of the ground
                                                      11
     building structure in May 2019, Spaulding says.

     One 11 fun fact 11 for soccer fans is the where they can expect to see the pitch or playing
     surface. Since the land slopes down from Central Parkway to John Street (the borders of
    the stadium property), Spaulding says the pitch will set at the same elevation Central
     Avenue is at today.

     Stargel Stadium

    While Turner says its pans won'                                                 is year's football season, it's unclear
     when      t e new Stargel Stadium will open.

     Wh' e Spaulding expects Taft won't be playing ·n                                  e new Stargel next year, saying
    theres no enough fim                     o ge that done, ce spoke oman Lauren Worley says th at 's
    s ii he goal.

          m innati        blic Schools is in charg of building the new facil ity on a plot of Ian
    adjacent lot e high sctiool on Ezzard                            harle Drive with fun ·ng from FC Cincinnati.
    The ~is ric h sn't annou ced construction plans. Worley says the district is looking for a
    construction company and the project is out for bid.

                   tJ


https://www.wvxu.org/local-news/2018-10-19/this-is-when-fc-cincinnati-will-break-ground-on-west-end-stadium                   2/6
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10/1/22, 3:28 PM                                    This Is When FC Cincinnati Will Break Ground On West End Stadium I WVXU

     The stadium won't exactly be "new." Most likely, elements of the current stadium will be
     removed and installed at the new site.

     Nothing can start until the Boa d of Educati on ana Tfie Port (the redevelo pment
     au1nority FC Cincinnati is running the project                                rou gh) sign the deal officially swapping
     ownership of the land upon wh ich Stargel currently sits and where it will go. Worl ey says
     the board is slated to vote on that resolution Monday.

     After the eal is signed, CPS will lease back use of Stargel for free for the rema inder of
     the season.

     Tags          Local News         !I      FC Cincinnati




                            Tana Weingartner

                           Tana Weingartner earned a bachelor's degree in communication from the University
                           of Cincinnati and a master's degree in mass communication from Miami University.
                           Prior to joining Cincinnati Public Radio, she served as news and public affairs
                           producer with WMUB-FM. Ms. Weingartner has earned numerous awards for her
                           reporting, including several Best Reporter awards from the Associated Press and
                           the Ohio Society of Professional Journalists, and a regional Murrow Award. She
                           enjoys snow skiing, soccer and dogs.
                           See stories by Tana Weingartner




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                                                  County, FC Cincinnati strike parking garage deal - Cincinnati Business Courier
 2/24/2020




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    COMMERCIAL REAL ESTATE


    County, FC Cincinnati strike parking garage deal; taxpayer subsidy rises




      ~ 'Al\lt!IDSis Wetterich
   ~ssmreEeer and colum~ist, Cincinnati Business Courier
   Brought tlt~fl,19, 2019, 4:35pm EST
   Deio:tt<>!Updated Dec 20, 2019, 11:45am EST


   FC Clncinriali
   ( mi,ltGn County will build two garages that will serve FC Cincinnati on game days - one on the stadium site itself and
   Sn ru
  anotl1er at Findlay Market - ending a protracted negotiation with the club.
   t!<1 pl:, yf'::"::i.



                          ·' sioners Denise Driehaus and StephanieSummerow Dumas voted 2-0 for the plan, which is expected to cost
                           Tl million, on T urs ay night. Commissioner Todd Portune was ill and could n t ma et mee n .

  ~1Ji~~                                   benefit" to building two garages, said Commissioner P.~11.i?_~Pti~h~~?· "They (Findlay Market
  ~$~%1#~                                  esses) are clamoring for a parking facility. The community benefit is real and year round."

  Th cou~ty will ouua a6out 850     aces at the We t End stadium ite itself and another 300 at Findlay arket. The club
  will get 85% of the game day revenue, wffile the county will receive all of the money on other days. If the county's
  revenue at the stadium site garage is insufficient to meet operating expenses, the team's game day share will be
  reduced to SO% during years three through 12. The same will be true during years one through three at the Findlay
  Market garage. The site for that garage has not yet been chosen.

  The term sheet sets a Jan. 15 deadline for finalizing the contract.

  A_ the Courier f!r.~; r~P.9.!~~d in November, the county already appropriated $30 million for the garages The county also
  has asked for $5 million from the state's capital budget, which the team agreed to support as long as it did not interfere
  with the team's own request from the state for capital dollars.
                                 . .,
                                ~-   '•   ....                                                                                       1.


                                          1 OF 3   ARTICLES REMAINING j   To continue   I   Create a Fil EE account   I
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 2124/£020                                           County, FC Cincinnati strike parking garage deal - Cincinnati Business Courier

     nder the deal, the total taxpayer contribution to rt Cincinnati-related infrastructure will rise to $62 milJion . The
                                                                                                                        - ___
   county originally estimated the garage would cost $15.IDJllion back in 20 17 wllen it rst approved fi nan cing , alth ougn
   there \Ve re questions at the time as to w hether a garage could be b w lt for that much money. The city~s infrastructure
   cont ribution is valued at $35 million.

   The count y plans to pay for the parking structures using revenue from its existing garages on the riverfront and in
   Ove r-the- Rhine. The county will not use general fund revenue. The construction financing will be a mix of cash, long-
   term debt and short-term notes. The term sheet does not indicate FC Cincinnati will provide a direct financial backstop
   for those payments, a request the county had once made.

      e term sheet also says that a hotel being contemplated at the stadiu m site is key to the economics of the parting
   facility. he agreement requires FC Cincinnati to use the parking garage for hotel valet parking if the club develops the
   hotel; if a third-party developer builds the hotel, FCC must use "good faith efforts" to have that party use the stadium
   garage for valet parking.

   Commissioners long have wanted the parking they build for FCC to serve a dual purpose: Help the club out but also
   relieve some parking needs and spur economic development in the increasing congested area around Findlay Market.


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         Cincinnati Councilman Jeff Pastor's campaign: Unusual
         donations, loans, gifts to churches
           Sharon Coolidg~, Cincinnati Enquirer      Published 11 :27 a.m. ET May 22, 2018 I Updated 5:14 p.m. ET May 22, 2018



                                                  Jeff Pastor's City Council win was the most exciting of Election Day 2017 in Cincinnati, an underdog story that
                                                  ended with him nabbing the last available seat by a razor-thin margin.


                                                  Since then, however, Pastor has come under scrutiny for how he won.


                                                  Dunng his campaign, he handed ou ohecks to African-American churches on              of the foundation he leads
                                                  a move one of his opponen         saw as an atternpt to "buy the vote.
           (Photo: The Enquirer/Meg Vogel)
                                                  Pastor's campaign finance reports, which are requireo to show precfsely how much money he raised and how
                                                  he spent it. don't do that


His last-minute advertising push dunng the campaign was bankrolled by a suP4!' PA that got money from a dark-money organization. While not illegal
such organizations aren't required to disclose the4r donors and are unusual in council races.


And-after the election, Pastor' boss. who is also suing the cl~ av.er sewer-re.lated issues. loaned.him the money to buy a ha!f-milhon-<,jolfar house In
North vondale.


Pastor's political foes are now asking: Does any of it violate Ohio ethics or campaign finance laws'?


Pastor, a Republican, finished ahead of 10th-place finisher Michelle Dillingham, a Democrat, by 223 votes and tipped council's balance of power on some
issues. For instance, Pastor was one of the five votes needed to build a Major League Soccer stadium in the West End - a project Dillingham is against.


Pastor declined to respond to Enquirer questions about his campaign finances. He offered a written statement in which he said questions about his
campaign and foundation are "offensive."


"I have done no favors, politically or otherwise, for anyone, period," Pastor wrote in his statement. •1will not and have not taken any action that will be
construed as unethical or worse. I will never place myself in a position where my ethics will be questioned as a member of city council."


Dillingham said Pastor's finances "should concern all of us, regardless of party."


"The broader issue here is money in politics," she said .


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                                                                                cou.i-ts.

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       0 :1ly 99¢ per mcnth for 3 months. Sav~ 90%.
               Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 83 of 91 PAGEID #: 263
 Pastor trained in both the Ohio National Guard and U.S. Navy but never served on active duty, he said - statements confirmed by military records . As a
 young man, Pastor said , he hoped to become a military chaplain but a lack of necessary experience and military downsizing led to his honorable
 discharge in January 2011.


 Hogan, who joined the campaign after the previous treasurer quit, said he wasn't there for the loan and therefore doesn't know any details about it.


He declined to talk about campaign expenses. As for the billboards, he said the "idea was to get them up just as we were getting close to Election Day."


               ark money buys TV ads for Pastor
Federal records sho\N Pastor also had help from two outside groups.         super PAC called Make Cincinnati Better got money from a West Chester-based
dark money organization called Jobs and Progress Fund and then used that money to buy advertising for Pastor.


Federal documents show Make Cincinnati Better bought $18,000 in advertising for Pastor in the week leading up to the election, $12,000 of it on
television, according to FEC and FCC documents. Make Cincinnati Better is run by Gene Pierce, a Columbus-based GOP political consultant.


Jobs and Progress, which is a 501(c)(4) and as such does not have to disclose its donors, gave Make Cincinnati Better $18,500 the same day it bought
the advertising, according to the filings .


Jobs and Progress was incorporated by David Langdon, a West Chester lawyer whom a 2015 Politico article
.(httRs://www.Rolitico.com/magazine/story/2015/05/dark-money-ohio-elections-12hantom-118268) called a "critical behind-the-scenes player among the
small army of lawyers working to keep secret the origins of millions of dollars coursing through the American political system."


The Ohio Secretar:y of State's site lists Mark Miller (htti:i:t/www2.sos.state .oh.us/re12orts/rwservlet?imgc12g&Din=201734102426), a founder of the
Coalition Opposed to Additional Spending and Taxes as a director or officer. Miller could not be reached for comment.


         Erom teache to founda io                                  irector
  ester's links to Shor ar.e numero


Formerly a teacher. he has worked for Shor as executive director of the Charles L. Shor Foundation for Epilepsy Research since 20 16 Megerle said.
However. he isn't listed as an employee on the organization's tax forms for that year


Shor also loaned Pastor money to buy his new home 1n North Avondale         in   April The councilman said he is repaying il


Pastor said when he suggested Shor contact the city manager's office (/story/news/12olitics/2018/05/02/cincinnati-councilman-jeff-pastor-boss-benefactor-
seeks-he!p-500-k-sewer-dispute/566166002/) to resolve a dispute over sewer damage in his basement, it was nothing different than he would have told
any citizen.


After Shor's January call to the city manager's office, the city upped its settlement offer to Shor from $28,000 to $45,000, according to an email obtained
by The Enquirer. The Hyde Park resident is suing for $505,000.


"Per our discussion, I'm authorized to offer your client $45,000," city attorney Lauren DeGoricia said in the April 27 email to Sher's lawyer. "I feel strongly
that all he is entitled to under the SBU Program is $28,870.28, our initial offer. I really don't have any justification to offer more other than avoiding costs
and time associated with litigation (which are minimal under this review process)."


There is no documentation showing that Shor has accepted that, or any, settlement amount.


                    ation dedicat
Shor, who suffers from seizures, started his foundation in 2002. Tax records show that at the end of 2016 the foundation had assets totaling $31.8 million
and it gave out $1.6 million.


For the most part. in past years the foundation has given money for epilepsy and other medical research


But during the campaign, the foundation changed focus .       th Pastor hand-delrvenng large donations to black churches throughout C1nc1nna11. Last mont
Me                                                                     cforce development, re-entry efforts and decreasing poverty.
             Case: 1:22-cv-00610-JPH-KLL Doc #: 3 Filed: 12/21/22 Page: 84 of 91 PAGEID #: 264
 Laure Quinlivan, who was also running for council, said she saw Pastor on the campaign trail during a visit to Greater New Hope Missionary Baptist
 Church in East Walnut Hills.


Quinlivan attended services there on Oct. 22, with Pastor Don Jones recogn izing she was in the congregation , as is typical during campaign season .


 That day, though , Pastor also was introduced as a council candidate and made a presentation, during which he announced that the foundation he worked
for was donating $20,000 so the church could start a job training program, Quinlivan recounted


Pastor added he was working with nine other churches, making similar donations, she said.


Four other local pastors told The Enquirer they, too, got checks from the foundation late last year. One of them , to Corinthian Baptist Church, was made
during the council campaign, the church's pastor, K.Z. Smith, said. He could not recall the exact date.


The foundation's 2017 tax records should detail the donations, but they are not yet publicly available. Pastor refused to give The Enquirer a copy.


Quinlivan was shocked that so close to the election, Pastor was donating money to create a job training program for youth when the city has so many job
training programs.


Later that week, she saw Pastor and asked him about the foundation. Pastor, she said, was visibly upset and appeared angry she was asking questions.


"I was shocked this candidate was brazenly passing out big checks from a medical foundation to local church pastors right before the election . in what
appe red to be his effort to buy the vote." Quinlivan    id.

Two pastors whose churches were recipients of lhe donations said that was not the case.


Smith said the Shor Foundation for l:pilepsy Research donated $25.000 to the church during the campaign, but Pastor's council bid was not discussed as
part   or!he g·   .

Damon Lynch Ill, pastor of New Prospect Baptist Church, said his church will use the money for a job training program that focuses on entrepreneurship
and wealth building for young people.


Pastor "did not campaign," he said.


Lynch said he met Shor though a mutual friend a few years ago and then introduced Shor to Pastor in 2016, when Shor was looking to hire a director.
The foundation paid for a new gymnasium at the church through a 2016 donation of $181,000.


"All this money came from Charlie, whether (it was for the) gym or scholarships," Lynch said. "What people are missing is the largess of Charlie, he gives
millions to Children's Hospital, millions to University Hospital. He is extremely generous."


Lynch explained Pastor's "job is to do for Charlie what Charlie has already been doing. It's not like Jeff is doing something new. Charlie was doing
something good for others . If not Jeff, it would have been somebody else."


Burke said nothing about Pastor's campaign adds up.


"There is no way to believe Jeff Pastor, after he becomes a candidate, is going around passing out checks like that and it wasn't part of a campaign effort
to befriend folks that could help him during the course of the campaign," Burke said .


And then there are the issues with the campaign finance reports.


"If campaign finance reports mean a damn thing , you wan! them to be accurate, and you want council members to obey the limits," Burke said. "Right
now, we don't know enough to ultimately reach conclusions. We just know enough to be terribly suspicious thal !here are problems."




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                                                                         E'.ill.l!, exP.lor-t> our vqter guide and the issues,


Dillingham said this isn't about attacking the man who took the seat she hoped to get.


"The future of City Council races is at stake. We can't let investors look at our local elections as something they can buy so later they can get special
treatment."


The questions are piling up five months into the new City Council term, a tumultuous stretch during which council factions have been divided, the city
manager was ousted and the -death of Kyle Plush shone a spotlight on a long-troubled 911 system.


           Reports don't detail ins ana outs of campaign money
A review of Pastor's campaign finance reports shows !hey don't meet the minimum standards required by law, making it impossible to know exactly how
much money he raised - or how he spent it.


By law, campaign finance reports must provide the name and occupation of each contributor and , on a separate form, show how the money collected is
spent.


At one point, Pastor had $46,000 on hand, reports show.


Deb Acra, a campaign finance specialist at the Hamilton County Board of Elections, has twice notified Pastor and his current campaign treasurer, James
Hogan, that errors and ommissions need to be corrected.


Mistakes by campaigns are common; eight of the current council members were asked to make adjustments by the Board of Elections. But only Pastor
was missing detailed expense records, instead attaching bank statements that don't show what the money was spent on.


One of the biggest points of confusion regarding Pastor's campaign finance reports is a $54,615 loan Pastor made to his campaign in September 2017.


"It came from me," he told the Cincinnati Business   Courjer for a Nov. 2 story_(httP-s;//www,bizjoumals.com/cincinnati/news/2017/11/02/cincinnati-city.:
council-candidate-loans-himself-54,html). "We saved money. I was in a position to loan myself those funds."


Pastor loaned the money to the campaign on Sept. 14, then four days later repaid himself $4,502. Typically when candidates loan themselves money, it's
not repaid until after an election, if at all, since the purpose is to pay for campaign needs.


Pastor's post-election campaign report shows the remaining $50,113 of the loan to his campaign is outstanding.


Meanwhtle. his boss. wealthy former bosmessman Charlie Shor. reported April 26 that Pastor owed him $50,000 in addition to a $500,000 pnvate
mortgage Shor gave Pastor for his home at the same time, according to records filed with the Hamilton County Recorder's Office.




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                     Charles Shor, the former CEO of Durobag, is moving onto the next stage of his life after selling the company earfier this year. A major focus is on philanthropy and Shor is
                     helping kick off Children's Hospital's new $250 million fundralsing campaign. (Photo: The E:nquirer/Amanda Rossmann)




        Are the two $50,000 loafls connected? Tnat's one of the questions Pastor has refused to answer.


        If Shor lent Pastor the money, Pastor would have needed to disclose that on campaign finance reports. By law, contributors outside a candidate's family
        can donate up to $1,100.


        Shor, whom Pastor's chief of staff, Steve Megerle, described as being like family to Pastor, didn't donate to the campaign, according to campaign finance
        reports.


        Hogan, who joined Pastor as campaign treasurer on Oct. 26, two weeks before the election, said, "I know Charlie Shor was involved in some ways. I'm
        not sure about his role. He did a lot before the campaign started."


        Pastor has told the Board of Elections his campaign would provide answers by June 4.


        "I think there are two potential problems here," said Hamilton County Democratic Party Chairman Tim Burke, who is also the chairman of the Board of
        Elections. "If the money was given to him so he could loan it to his campaign, I think it's a violation of both the disclosure and the campaign limit
        requirements. He needs to clear this up."


        Hamilton County Republican Party Chairman Alex Triantafilou, who also serves on the Board of Elections, declined to comment.


        The question remains how the money was spent. Pastor was open about busing people to the polls, an expense that should be detailed in records but
        isn't.


        And he put up a series of billboards at the last minute featuring a photo of him in his U.S. Navy uniform.


                                   Jeff Pastor
                                   @votePASTOR

                         Guess who's on billboards for the next 7 weeks? Here's the
                         campaign surprise! Like and Retweet if you've seen a billboard!
                         #PASTOR4Cincy




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FOR MORE INFORMATION
Contact a Member Engagement Specialist at any of our Greater Cincinnati YMCA branches, call (513) 362-VMCA, or visit www.MyV.org.
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                                            LIVE




      Search Site                                                                                                            Q-Kidz
     Dance Team will stay in their studio.


    The nationally-acclaimed group uses dance lessons to keep girls safe and off the streets.


    The after-school program was in danger of being evicted because it owed more than $70,000 in
    back rent.

                                                                        ADVERTISING




    City Council Member Jeff Pastor tells Local 12 that the dance studio and the housing authority
    have worked out an agreement.



    "They've had a number of kids go to college, they performed at TEDx. They performed at
    Memorial Hall. It's a really awesome program that keeps kids engaged. It's something that you
    would like to see around the city of Cincinnati given the violent summer that we had. You
    know, people have to have a positive outlet and that's what Q-Kidz provides for the West End,"
    said Jeff Pastor.



    MORE TO EXPLORE

   Wife of former Bengals player pleads not guilty to sending sexts to Ohio teen
https://local12.com/news/local/q-kidz-clance-team-has-been-saved-will-stay-in-their-studio
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